  Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 1 of 118




Exhibit B
         Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 2 of 118
                LIST OF WITHHELD AFFIDAVITS AND DECLARATIONS


        CASE                                            DOCUMENT
Charissa                 1/26/2004 Second Affidavit of Richard E. Abrahamson
26-22191                 Filed on 2/2/2004 with WTPA’s Supplemental Memorandums of Points &
Napa County Superior     Authorities in Support of Motion to Quash.
Court
Charissa                 3/11/2005 Declaration of Robert J. Schnack in Support of Watch Tower
26-22191                 Pennsylvania’s Response in Opposition to Motion to Compel Discovery
Napa County Superior
Court
Charissa                 10/14/2005 Declaration of Mario F. Moreno
26-22191                 Filed on 10/19/2005 – I think this was filed in Support of the Church
Napa County Superior     Defendants’ Motion to Stay Execution of Order to Produce Documents
Court                    Pending Writ
Charissa                 9/27/2006 Declaration of Mario F. Moreno, Esq., in Support of Opposition to
26-22191                 Plaintiffs’ Motion to Compel PMK Deposition and Document Request
Napa County Superior     Regarding the Watchtower Legal Department
Court
Charissa                 9/27/2006 Declaration of Robert Schnack, in Support of Opposition to
26-22191                 Plaintiffs’ Motion to Compel PMK Deposition and Document Request
Napa County Superior     Regarding the Watchtower Legal Department
Court
Charissa                 9/29/2006 Declaration of Arturo Almanza in Support of Defendants’
26-22191                 Opposition to Plaintiffs’ Motion to Compel Deposition and/or Motion for a
Napa County Superior     Protective Order Regarding the Woodland Elders
Court

Charissa                 9/29/2006 Declaration of J. Gary Hayes in Support of Defendants’ Opposition
26-22191                 to Plaintiffs’ Motion to Compel Deposition and/or Motion for a Protective
Napa County Superior     Order Regarding the Woodland Elders
Court

Charissa                 9/29/2006 Declaration of Arvid W. Kron
26-22191                 Filed on 9/29/2006 with Church Defendants’ Memorandum of Points and
Napa County Superior     Authorities in Opposition to Plaintffs’ Motion to Compel PMK Deposition
Court                    and Document Request Regarding General Discovery Matters (Discovery
                         Motion No. 2)
Charissa                 9/29/2006 Declaration of David W. Becker
26-22191                 Filed on 9/29/2006 with Church Defendants’ Memorandum of Points and
Napa County Superior     Authorities in Opposition to Plaintffs’ Motion to Compel PMK Deposition
Court                    and Document Request Regarding General Discovery Matters (Discovery
                         Motion No. 2)
Doe (TX)                 3/6/2015 Affidavit of Hernan Steele
DC-14-12402              Filed on 3/6/2015 with Defendant’s Motion to Allow Filing of Affidavit in
Dallas County District   Support of Claims for Privilege
Court



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         Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 3 of 118
               LIST OF WITHHELD AFFIDAVITS AND DECLARATIONS


Doe (TX)                 6/26/2015 Affidavit of Records Custodian (Richard Ashe, Jr.)
DC-14-12402              Filed on 6/26/2015 with Defendants’ Amended Traditional Motion for
Dallas County District   Summary Judgment on Jane Doe I’s Claims
Court
Dorman                   5/2/2011 Affidavit of Richard Ashe, Jr.
37-2010-00092450         Doc. 49
San Diego Superior
Court
Grafmyer                 11/2/2006 Declaration of Merton V. Campbell
06C15281                 Filed 11/2/2006 Hard to tell from the docket report and filings but my guess is
Marion County Circuit    that this is filed in Support of Defendant’s Opposition to Plaintiff’s Motion to
Court                    Compel Production of Documents
Grafmyer                 9/24/2006 Declaration of Murray Morris
06C15281                 Filed on 10/25/2006 with Defendants’ Supplemental Memorandum in
Marion County Circuit    Opposition to Plaintiff’s Motion to Compel Production of Documents
Court
Grafmyer                 10/23/2006 Declaration of Merton V. Campbell
06C15281                 Filed on 10/25/2006 with Defendants’ Supplemental Memorandum in
Marion County Circuit    Opposition to Plaintiff’s Motion to Compel Production of Documents
Court
Haggan                   9/20/2019 Certification of Thomas Jefferson, Jr.
HNT-L-000336-19          Filed 9/23/2019 with CCJW’s Notice of Motion to Dismiss Plaintiffs’
Hunterdon County         Complaint
Superior County
Ken L.                   (Undated) Declaration of William E. Blore
52594
Placer County Superior
Court
Lewis                    10/12/2015 Declaration of Doulgas Chappel
2:14-cv-00205            Doc. 70
Vermont USDC
Lewis                    10/14/2015 Declaration of Matthew Reimann
2:14-cv-00205            Doc. 70
Vermont USDC
N.D. (HI Case)           1/10/2022 Declaration of Thomas Jefferson
1CCV-XX-XXXXXXX          Doc. 263
Hawaii First Circuit
Court
Tabitha H.               (Undated) Declaration of Arvid W. Kron (Ministerial Servant)
26-22191                 Duplicate of the Charissa Declarations but with different caption.
Napa County Superior
Court
Tabitha H.               (Undated) Declaration of David W. Becker (Elder)
26-22191                 Duplicate of the Charissa Declarations but with different caption.
Napa County Superior
Court


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        Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 4 of 118
              LIST OF WITHHELD AFFIDAVITS AND DECLARATIONS


Vigue               1/27/2005 Affidavit of Alexander W. Reinmueller
04-2-02451-4        Doc. 29
Spokane County
Superior Court
Vigue               10/28/2005 Affidavit of Alexander W. Reinmueller
04-2-02451-4        Doc. 59
Spokane County
Superior Court
Vigue               2/28/2007 Declaration of Gary N. Breaux
04-2-02451-4        Doc. 88
Spokane County
Superior Court




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     Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 5 of 118


..
                                •
                                    SUPERIOR COURT OF CALIFORNIA
                                                                               f ILED
                                                                                  FEB022004
                                          COUNTY OF NAPA
                                                                                            Superior Court
     CHARISSA W. and                               )
     NICOLED.,                                     )
                                                   )
                  Plaintiffs,                      )
                                                   )
                                                   )
           vs.
                                                   )        Case No.: 26-22191
                                                   )
                                                   )
     WATCHTOWER BIBLE AND TRACT                    )
     SOCIETY OF NEW YORK, INC., et al.,            )
                                                   )
     _______________
                  Defendants.                      )
                                                   )

                      SECOND AFFIDAVIT OF RICHARD E. ABRAHAMSON


     STATE OF NEW YORK)
                                ) ss.:
     COUNTY OF KINGS            )

           I, Richard E. Abrahamson, after being duly sworn, depose and state as follows:

     1.    I am over 18 years of age, of sound mind, and competent to make this Affidavit. I have
           personal knowledge of the matters contained herein, and they are all true and correct.

     2.    I am the secretary and treasurer of Watch Tower Bible and Tract Society of Pennsylvania
           (..Watch Tower PA"), who is a Defendant in this proceeding.

     3.    Watch Tower PA coordinates the worldwide activities of Jehovah's Witnesses by
           providing copyrighted literature (text and images for various publications) and financial
           support. Historically. Watch Tower PA bas also given powers of attorney to individuals
           in foreign countries to act on its behalf where the national laws require the appointment
           of a ••chief' religious person. Few, if any, foreign countries now have such requirements.

     4.   In most countries where Jehovah's Witnesses are legally recognized, a local corporation
          has been formed to be legally responsible for the various appointments of individuals and
          is used to communicate with congregations in that country.




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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 6 of 118




5.    Watch Tower PA has never acted in a supervisory capacity to any congregation in the
      United States, other than providing infrequent spiritual direction by mail. Additionally,
      Watch Tower PA has never been responsible for the appointment of individual Elders or
      others in the United States. Furthermore, Watch Tower PA is not responsible for any
      assemblies or conventions of Jehovah's Witnesses held in California or in the United
      States.

6.    Watch Tower PA, as a recognized charity, has received donations from individuals in
      California. Some of these donations are in the form of real property. In many cases, the
      individuals have deeded a part of their property to Watch Tower PA, but have retained a
      life estate in the property donated.

7.    Watch Tower PA administers a fund for the construction of church buildings entitled the
      Kingdom Hall Fund. Through this fund, Watch Tower PA has provided financial
      assistance to congregations in the United States and around the world to build their places
      of worship known as Kingdom Halls and Assembly Halls. In return for the financial
      assistance, the congregations have executed promissory notes, or some mortgages before
      1988, agreeing to pay back the loans.

8.    Watch Tower PA has lent money to congregations in California through its Kingdom
      Hall Fund to assist in the construction of places of worship and received promissory notes
      or mortgages in return for the money lent. However, these financing arrangements have
      been conducted exclusively through the mails and over the telephone.

9.    Watch Tower PA does not hold, and has never held, promissory notes or mortgages from
      the Napa Congregation of Jehovah's Witnesses in Napa, California, or from the Oak
      Knoll Congregation of Jehovah's Witnesses in Napa, California.

10.   Watch Tower PA administers a fund named the Kingdom HaJl Assistance Arrangement
      ("KHAA''). The KHAA is a fund created from voluntary donations and used for the
      discretionary purposes of Watch Tower PA. These discretionary purposes include paying
      for uninsured property damage to Kingdom Halls as well as expenses and liability claims
      arising from accidents at Kingdom Halls. No premiums have ever been collected for the
      KHAA. Similarly, the KHAA does not guarantee payment to any person or legal entity
      that contributes to the fund. Finally, the KHAA has been used by Watch Tower PA in all
      50 States in the United States and in many countries around the world.

11.   The Watchtower Bible School of Gilead ("School") has been owned and operated by
      Watchtower Bible and Tract Society of New York, Inc. ("WTNY'') since its inception in
      1942. The School does not have income, in the classical sense, because students do not
      pay tuition or other fees. WINY underwrites all expenses for the School. All invitations
      to the School have been sent by WTNY to students in the United States and around the
      world since its inception.




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                                                                         CAEKAERT/MAPLEY 006378
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 7 of 118




12.    Watch Tower PA maintains its own separate corporate meetings. Watch Tower PA
       maintains its own separate corporate books and records. Members of the Board of
       Directors and Officers of Watch Tower PA do not sit on any other corporations,
       including WTNY or Christian Congregation of Jehovah's Wiblesses ("CCJW").

13.    Watch Tower PA prepares its own annual financial reports. These financial reports are
       prepared separately from all other corporations, including WTNY and CCJW.

14.    Watch Tower PA maintains separate bank accounts from all other corporations. Watch
       Tower PA does not commingle funds with any other corporation.

15.   Watch Tower PA has provided funds to other corporations, including WTNY and CCJW.
      These funds have been recorded as long-term receivables by Watch Tower PA and long-
      term payables by the other corporations. Watch Tower PA has also made gifts to other
      corporations and recorded them as such.

16.    Watch Tower PA is not held out as liable for the debts of any other corporation, including
       WTNY or CCJW.

17.    Watch Tower PA occupies WlNY office space under a written lease. To some extent,
       some of the same personnel serve all of the corporations in providing legal, accounting,
       and risk management services.

18.   Watch Tower PA maintains all corporate fonnalities required by Pennsylvania law.
      Watch Tower PA holds annual meetings of members and directors and documents all its
      meetings (annual, regular, or special), and all significant corporate actions.


SIGNED this tire 2(,tl. day of    ~ '"'~         , 2004.




                                            Secretary-Treasurer of Watch Tower Bible and
                                            Tract Society of Pennsylvania



SUBSCRIBED AND SWORN TO BEFORE ME on the 2,.(,-tl\ day of .kn\lQf'\j , 2004, to certify
which witness my hand and official seal.




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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 8 of 118




  1                                            PROOF OF SERVICE

 2            I am a citizen of the United States and am employed in Sacramento County, where this mailing
      occurs. My business address is 1133S Gold Express Drive, Suite 105, Gold River, California 95670. I
 3    am over the age of eighteen ( 18) and not a party to this within cause.

 4          On January 30, 2004, the following ordinary business practice., I served the foregoing
      document(s) described as:
 5
                        SECOND AFFIDAVIT OF RICHARD E. ABRAHAMSON
 6
      in the following manner, by placing a true copy(ies) thereof in a sealed envetope(s) addressed as follows:
 7
 8    RudyNo)en
      Nolen Saul Brelsford
 9    350 University Ave., Suite 280
      Sacramento, CA 9S825
10
      XXX (BY MAIL)            I caused such envelope(s) with First Class postage thereon fully
11             prepaid to be placed in the U.S. Mail in Gold River, California. I am readily
              familiar with my employer's nonnal business practice for collection and processing of
12            correspondence and other material for mailing with the U.S. Postal Service, and that practice is
              that said material is deposited with the U.S. Postal Service the same day as the day of collection
13            in the ordinary course of business.
14            (BY FEDERAL EXPRESS) I caused such envelope(s) to be hand-delivered by
              an authorized Federal Express agent, this date to the office(s) of the addressee(s).
15
              (BY FACSIMILE) I caused to be transmitted the aforementioned document,
16            via facsimile machine, to each of the above-listed parties' FAX numbers between
              the hours of 9:00 a.m. and 5:00 p.m. on _ _ _ _ _ and received verification of each
17
              complete transmission.
18
              [ ]      (State) I declare under penalty of perjury under the Jaws of the State of California that
19    the above is true and correct.

20           []       (Federal) I declare that I am employed in the office of a member of the Bar of this Court
      at whose direction the service was made.
21
              Executed on January 30, 2004, at Gold River, California.
22

23
                                                        By
.24                                                              Michelle A. Tinker
25
26
27
28
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                          SUPPLEMENTAL MEMORANDUM OF POINTS AND AUTHORITIES
                                    IN SUP~~S~F MOTION TO QUASH




                                                                                   CAEKAERT/MAPLEY 006380
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 9 of 118




                                                 CAEKAERT/MAPLEY 006381
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 10 of 118




                                                  CAEKAERT/MAPLEY 006382
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 11 of 118




                                                  CAEKAERT/MAPLEY 006383
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 12 of 118




                                                  CAEKAERT/MAPLEY 006384
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 13 of 118




                                                  CAEKAERT/MAPLEY 006601
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 14 of 118




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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 15 of 118




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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 16 of 118




                                                  CAEKAERT/MAPLEY 006624
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 17 of 118




                                                  CAEKAERT/MAPLEY 006625
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 18 of 118




                                                  CAEKAERT/MAPLEY 006626
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 19 of 118




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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 20 of 118




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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 21 of 118




                                                  CAEKAERT/MAPLEY 006631
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 22 of 118




                                                  CAEKAERT/MAPLEY 006617
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 23 of 118




                                                  CAEKAERT/MAPLEY 006618
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 24 of 118




                                                  CAEKAERT/MAPLEY 006619
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 25 of 118




                                                  CAEKAERT/MAPLEY 006620
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 26 of 118




                                                  CAEKAERT/MAPLEY 006611
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 27 of 118




                                                  CAEKAERT/MAPLEY 006612
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 28 of 118




                                                  CAEKAERT/MAPLEY 006613
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 29 of 118




                                                  CAEKAERT/MAPLEY 006614
             Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 30 of 118
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                            IN THE SUPERIOR COURT OF THE SfATE OF CALIFORNIA
                                      IN AND FOR THE COUNTY OF NAPA


         TABITHA H.                                         )
                                                            )
         Plaintiffs,                                        )
                                                            )
         vs.                                                )          CASE NO.: 26-23929
                                                            )
                              Plaintiff                     )          Judicial Council Coordination
                                                            )          Proceeding No. 43 74
                     v.                                     )
          WATCHTOWER BIBLE AND TRACT                        )          Coordinated with Napa County
          SOCIETY OF NEW YORK, INC., et al.                 )          Superior Court Case No. 26-22191
                                                            )
                              Defendants.                   )          DECLARATION OF
                                                                       ARVID W. KRON
                                                            )
         AND COORDINATED ACTIONS.                           )




                    I, Arvid W. Kron. after being duly sworn. depose and say:

                    1.        That I am over 21 years of age and reside in Napa, California.

                    2.        That I am a duJy ordained minister and ministerial servant in the Oak Knoll

         Congregation of Jehovah's Witnesses, Napa, California, and that I served as an elder in the West

         Congregation, Napa, California, (River Park's former name) from approximately 1972 until

         1991.

                    3.        That I am thoroughly familiar with the religious beliefs, teachings, and p.-actices

         of Jehovah's Wnnesses.

                   4.         That duly ordained ministers of Jehovah's Witnesses responsible for teaching and

         pastoral care of congregation members are called ..elders."




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              Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 31 of 118
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                      5.        That it is a reHgious belief and practice of Jehovah's Witnesses based on Ood,s

           Word, the Bible, that an elder has a responsibility to provides spiritual counseling to those who

           seek it, and that any person who needs spiritual help or is awme of another in such need should

           approach the congregation elders and convey to tbern whatever information may be needed to

           provide spiritual as$istance to the erring one. (Isaiah 32:2; James 5:14-16; :Hebrews 13:17.) In

           addition, for similar reasons, there are times when elders initiate diSIAJSSions relating to the

           spiritual condition of congregation members.

                     6.         That it is the religious belief and practice of Jehovah's WitlleSses, based upon

           Scriptmc and church txadition, that elders must maintain in strict confidence any chUicb

           communication.s with congregants connected with the need for spiritual help or counseling, and

           congrcgants expect such communications to elders are and wiJI remain confidential-regardless

          of who initiated the conversatioa-Proverbs 1S:22; 25:9, 10.

                     7.         That revealing such confidential communications would call into question an

          elder's qualifications and could result in bis removal as an elder in the congregation.

                     8.         That if I or any elder is compelled to disclose such confidential information, our

          credibility and effectiveness as elders would be adversely affected and compromised. since

          congregants will no longer be able to trust and rely that problems and confidential information

          they disclose to elders will not be revealed through discovery and used against them in a court

          action.

                     9.         '!hat the requirement of keeping comml.Dlications to elders confidential is

          explained in the official publications of Jehovah's Witnesses as follows:

                             In each congregation of Jehovah's witnesses there are mature ministers
                     appointed to care for various assignmenrs. (l Tim. 3:2, 12) As they discharge
                     their duties they often are told about confidential things, and it is essential that



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                         they respect this confidence. For instance, James 5:13-16 shows that a member
                         of the congregation who has some spiritual problem, perhaps even having com-
                         mitted a sin, should go to the spiritually older men for help. Isaiah 32:2 propheti-
                         cally pictured these men as places of comfort and protection. What a fine thing it
                         is to be able to explain one's problem and get balanced spiritual .help, and at the
                         same time have full confidence that the matter will not become general knowl-
                         edge in the congregation or community.

                                  Th~ mature ministers wi]l not discus., even with their wives and close
                         friends what they thus learn in confidence. They know that if they did so it would
                         undermine respect for their positions; it would make individuals besiwit to oomc
                         to them; yes, in time it might even make it impossible for them to fulfill their role
                         as spiritual shepherds.

             The Watchtower, April 1, 1971, p. 223.

                         10.            Thal it is also the religious belief and practfoe of Jehovah's Witnesses. based upon

             Scripture and church traditi.0nt to keep congregation files, papers, reports, minutes or other

            documents prepared in conjunction with, or as a result ot; the above-described confidential

            communications, confidential.

                         11.            That if I or any other elder is compelled to produce any papers, tepOrts, minutes

            or other documents prepared in conjwiction with or as a result of the above-described

            confidential communications, our credi'bility and effectiveness will be adversely affected 1111d

            compromised, and the confidentiality of the oral communications will be rendered worthless.

                         12.        That I and two other elders fiom the West Congregation, Napa, California, met

            with Edward Villegas several times on or about January 1989 so as to provide him with spiritual

            counsel and assistance. There were no non-clergy or other third persons psesent during these

            confidential meetings with Mr. Villegas.                      Although a report relating to Mr. Villegas'

            disfellowshipping was sent by the three ddCTS who met with him to the elders in the United

            States Service Department for Jehovah's Witnesses, as required by church practice and




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            procedure, the specifics of the conversatiODS that the three elders bad with Mr. Villegas were not

            included in these two reports.

                        13.            I declare wder penalty of perjury under the laws of the State of California that the

            foregojng is tnte and correct to the ~t of my information, belief. and knowledge.

                                                                        Respectfully submjtted,


                                                                       ~ w .. \<-s-r-.
                                                                            Arvid W. Kron




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                                 IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                           IN AND FOR THE COUNTY OF NAPA

             TABITHAH.                                             )
                                                                   )
             Plaintiffs.,                                          )
                                                                   )
             vs.                                                   )       CASE NO.: 26-23929
                                                                   )
                                     Plaintiff                     )       Judicial Council Coordination
                                                                   )       Proceeding No. 4374
                                     v.                            )
             WATCHTOWER BIBLE AND TRACT                            )       Coordinated with Napa County
             SOCIETY OF NEW YORK, JNC., et al.                     )       Superior Court Case No. 26-22191
                                                                   )
                                     Defendants.                   )       DECLARATION OF
                                                                           DAVID W. BECKER
                                                                   )
             ANO COORDINATED ACTIONS.                              )




                        I, David W. Becker, after being duly sworn, depose and say:

                        1.           That I am over 21 years of age and reside in Napa, California.

                        2.           That I am a duly ordained minister and elder of the River Park Congregation of

            Jehovah's Witnesses, Napa, California.

                        3.           That I am thoroughly familiar with the religious beliefs, teachings, and practices

            of Jehovah's Witnesses.

                        4.           That duly ordained ministers of Jehovah's Witnesses responsible for teaching and

            pastmal care of congregation membem are called "elders.··

                        5.           That it is a religious belief and practice of Jehovah's Witnesses based on God's

            Word, the Bible, that an elder has a responsibility to provides spiritual counseling to tho~ who

            seek. it, and that any peISOn who needs spiritual help or is aware of another in such need should



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          approach the congregation elders and convey to them whatever information may be needed to

          provide spiritual assistance to the erring one. (ISaiah 32:2; James 5:14•16; Hebrews 13:17.) In

          addition, for similar reasons, there are times when elders initiate discussions relating to the

          spiritual condition of congregation members.

                     6.        That it is the religious belief and practice of Jehovah's Witnesses, based upon

          Scripture and church tradition, that elders must maintain in strict confidence any church

          communications with congregants connected with the need for spiritual help or counseling, and

          congregants expect such communicauons to elders are and will remain confidential--regardlcss

          of who initiated the conversatioa-Proverbs 15:22; 25:9, 10.

                     7.        That revealing such confidential communications would call into question an

          eider's qualifications and could result in his removal as an elder in the congregation.

                     8.        That if I or any elder is compelled to disclose such confidential information, our

          credibility and effectiveness as elders would be adversely affected and compromised. since

          congregants will no longer be able to trust and rely that problems and confidential information

          they disclose to elders will not be revealed through discovecy and used against them in a court

          action.

                    9.         That the requirement of keeping commurucations to elders confidential is

         explained in the official publicatiom of Jehovah,s Witnesses as follows:

                            In each congregation of Jeho~ah's witnesses there are mature ministers
                    appointed to care for various assignments. (1 Tim. 3:2, 12) As they discharge
                    their duties they often are told about confidential things, and it is essential that
                    they respect this confidence. For instance, James 5:13-16 shows that a member
                    of the congregation who bas some spiritual problem, perhaps even having com-
                    mitted a sin, should go to the spiritually older men for help. Isaiah 32:2 propheti-
                    cally pictured these men as places of comfort and proteciion. What a fine thing it
                    is to be able to explain one's problem and get balanced spiritual help, and at the
                    same time hnve full confidence that the matter will not become general knowl-



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              Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 36 of 118
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                     edge in the congregation or community.

                              Those mature ministers will not discuss even with their wives and close
                     friends what they thus learn in confidence. They know that if they did so it would
                     undermine n:spect for their positions; it would make individuals hesitant to come
                     to them; yes, in time it might even make it impossible for them to fulfill their role
                     as spiritual shepherds.

          The Watchtower, April 1, 1971, p. 223.

                     t 0.          That it is also the religious belief and practice of Jehovah's Witnesses. based upon

          Scripture and church tradition, to keep congregation files, papers, reports, minutes or other

          documents prepared in conjunction with, or as a result of. the above-described confidential

          communications, confidential.

                     11.       That if I or any other elder is compelled to produce any papers, reports, minutes

          or other documents prepared in conjunction with or as a result of the above-described

          confidential communications, our credibility and effectiveness will be adversely affected and

          compromised, and the confidentiality of the orol communications will be rendered worthless.

                     12.       That I and two other elders from the River Park Congregation, Napa, California,

          met with Edward Villegas several times on or about January 1994 so as to provide him with

          spiritual counsel 1111d a.ssistance. There were no non-clergy or other third persons ~ t during

          these confidential meetings with Mr. Villegas. Although a report relating to Mr. Villegas'

          disfellowshipping was sent by the three elders who met with him to the elders in the Uni1cd

          States Service Department for Jehovah's Witnesses, as required by church practice and

         procedure, the specifics of the conversations that the three elders had with Mr. Villegas were not

          included in these two reports.

                    13.        I declare under penalty of perjury under the laws of the State ofCalifomia that the

         foregoing is ttue and conect to the best ofmy information, belief, and knowledge.




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             Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 37 of 118

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                                                David W. Becker




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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 38 of 118




                                  CAUSE NO.DC-14-12402

JOHN DOE I, ET AL                                          DISTRICT COURT

                                                            14th DISTRICT COURT

v.                                                         DALLAS COUNTY,TX

WATCHTOWER,et al.                                           MARCH 6, 2015

                           AFFIDAVIT OF A. HERMAN STEELE

       I, A. HERMAN STEELS, of my own personal knowledge attest as follows:

       I am over 21 years of age, of sound mind, and competent to make this Affidavit. I have

personal knowledge of the matters contained herein and they are all true and correct.

       1.     I reside in Patterson, New Yor~C, have been one of 7ehovah's Witnesses since

January 5, 1980, and have served as an elder in the faith of Jehovah's Witnesses since

October 23, 1990,

       2.      Since September 25, 1993, I have served in the Service Department at the U.S.

Bzanch Office of7ehovah's Witnesses which has been located in Patterson, New York since June

of 1995 (hereinafter "Service Department")

       3.      I, along with other appointed elders in the Service Deparrinent provide spiritual

advice, assistance, and guidance to elders in congregations of Jehovah's Witnesses throughout

the United States who may call or write to the Service Department for spiritual advice and

counsel in accordance with the Holy Scriptures and the religious beliefs and practices of

Jehovah's Witnesses.

       4.      For all times relevant herein, the elders in the Service Department also monitored

the functioning and organization of congregations of Jehovah's Witnesses, including reviewing

the qualifications for the appointment of elders to congregations of Jehovah's Witnesses i.n the



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                                  Affidavit of A. Hernan Steele




                                                                            CAEKAERT/MAPLEY 007276
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 39 of 118




United States. Up until mid-March 2001 the elders in the Service Departrn.ent communicated

tluough Watchtower.

       5.     I am thoroughly familiar with the religious beliefs and practices of Jehovah's

Witnesses, and with Scriptural precedents for those religious beliefs and practices. I also have

personal knowledge of the documents at issue in this Motion. They are confidential spiz-itual

documents that are sent between elders in the Service Department and the bodies of elders from

congregations for the purpose of seeking and giving spiritual advice and/or guidance in

accordance with the Holy Scriptures, They are sent with the expectation that the content of the

letters to and from congregation elders and reports from circuit overseers (traveling elders who

visit congregations periodically) would remain private and confidential pursuant to the Holy

Scriptures and the religious beliefs and practices of Jehovah's Witnesses.

       6.     In accord with the beliefs and practices of Jehovah's Witnesses, elders serving in

the Service Deparhnent are ordained ministers and appointed congregation elders.

       7.      Congregations of Jehovah's Witnesses are provided spiritual oversight by a small

group of lay individuals who serve as appointed congregation elders (hereinafter "elders").

(Philippians 1:1; 1Timothy 4;14; Titus 1.5), At all times relevant herein, before elders are

appointed, they must meet the Scriptural qualifications outlined in the Bible and be

recommended and approved by cuzxent elders, a circuit overseer, and elders in the Service

Department at the U.S. Branch Office of Jehovah's Witnesses in New York. (1Timothy 3:1-7;

Titus 1:5-9). Once an individual is approved and appointed to serve as a congregation elder, a

letter from the Branch Office is read to the congregation and the individual is officially vested

with authority as an ordained minister and appointed elder. ("Questions from Readers—How

Are Elders and Ministerial Servants Appointed in Each Congregation?" The Watchtower o~



                                                2
                                  Affidavit of A. Hernan Steele




                                                                             CAEKAERT/MAPLEY 007277
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 40 of 118




November 15, 2014, pp. 28-29; "Overseers and Ministerial Servants Theocratically Appointed,"

The Watchtower of January 15, 2001, p. 12). All elders of the Central English Dallas, Plano and

Greenville congregations are and were at all times relevant to this case ordained ministers and

spiritual shepherds of the congregation. Similarly, elders in the Service Department are also

ozdained ministers who provide spiritual assistance, guidance, anal answer questions raised by

elders in congregations of Jehovah's Witnesses who may call or write to the Service Department

for help or encouragement.

       8.     The congregation elders are responsible fox the spiritual teaching of the members

of the congregation as well as for pastoral care. (1 Peter 5:1-3; "Shepherds, Imitate the Greatest

Shepherds," The Watchtower of November 15, 2013, p. 26;"`Shepherd the Flock of God in Your

Care,"' The Watchtower of Tune 15, 2011, p. 20). Elders frequently provide spiritual counsel and

advice to members of the congregation concerning confidential personal and spiritual matters.

For example, congregation elders axe authorized to hear confessions and other private,

confidential communications and to pxovide spiritual guidance and counsel by virtue of the Holy

Scriptures and the religious beliefs and practices of Jehovah's Witnesses. (Proverbs 28:13;

Galatians 6:1; James 5:13-20). Congregation elders keep confessions and other confidential

spiritual communications confidential. (Proverbs 10:19; 11:13; 25:9; see, e.g., "`An Overseer

Must Be ... SelfControlled,"' The Watchtower of November 15, 1991, pp. 19, 23;"Overseers—

Be Fine Examples to `the Flock,"' The Watchtower of September 1, 1980, pp. 21, 24; "Where

Can You Turn with Confidence?" The Watchtower ofDecember 15, 1975, pp. 764, 766).

       9.      Congregation elders regularly communicate with each other and occasionally

comrxzunicate with elders in the Service Department matters of doctrine, spiritual counsel,

pastoral caxe, and organizational procedure. (Proverbs 11:14; 15:22; "Congregation Elders-



                                                3
                                  Affidavit of A. Hernan Steele




                                                                            CAEKAERT/MAPLEY 007278
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 41 of 118




`Preside in a Fine Way'!" The Watchtower of March 1, J.977, pp. 153, 154). All such spiritual

communications are strictly confidential in accordance with the Scripturally-based beliefs and

practices of Jehovah's Witnesses.

       10.    Congregation elders also investigate reports and confessions of wrongdoing (sin)

by congregation members. In cases of serious wrongdoing, the body of elders will appoint a

judicial convnittee, usually consisting of three elders, to provide pastoral counsel and to

administer any needed spiritual discipline to the erring member.          (`alders, Judge with

Righteousness," The Watchtower of 7uly 1, 1992, p. 14). The purpose of such investigations and

judicial action is to help those who have erred regain their spiritual health and repair their

relationship with God and to ensure that the congregation remains spiritually and morally clean.

The elders on a judicial committee will give the erring one spiritual counsel and will administer

appropriate spiritual discipline based on Jehovah's Witnesses' understanding of the Bible.

Jehovah's Witnesses believe that investigations by at least two elders and judicial committees of

at least three elders provide better, more complete spiritual counsel and advice based on the

greater experience and knowledge of multiple elders. Pursuant to the beliefs and practices of

Jehovah's Witnesses, all of these spiritually-based communications during investigations or

judicial committee proceedings are considered pz~vate and are to be kept confidential by all

pzesent, including the accused congregant and elders.

       11.     In cases of serious misconduct, elders on the judicial committee may privately or

publicly reprove or disfellowship (expel) the erring one depending on the individual's

repentance. When a member is publicly reproved ar disfellowshipped, an announcement is made

to the congregation to the effect that "[name] has been reproved" or "[name] is no longer one of

Jehovah's Witnesses."      When a congregation member is disfellowshipped, the judicial



                                                  4
                                    Affidavit of A. Hernan Steele




                                                                            CAEKAERT/MAPLEY 007279
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 42 of 118




committee elders notify elders in the Service Department of the disfellowshipping to ensure that

their decision was supported by the Holy Scriptures and the religious beliefs and practices of

Jehovah's Witnesses. The notice of disfellowshipping includes the name of the disfellowshipped

person, the date the disfellowshipping was announced, and the Scriptural basis for

disfellowshipping.

        12.      The confidentiality of spiritual communication between congregation members

and congregation elders is a fundamental religious belief and practice of 7ehovah's Witnesses.

Jehovah's Witnesses accept the Bible's admonition to confess one's sins to God and believe

there is a great benefit in speaking to congregation elders confidentially about spiritual matters.

(James 5:14, 15) Accordingly, Jehovah's Witnesses encourage those who are distressed or

spiritually weak to approach the congregation elders, confide in them, and receive spiritual

assistance. Notes ofjudicial committees, including their application of the Scriptures to the facts

and their evaluation of the erring one's repentance, are kept in a sealed envelope and under lock

and key. On the outside of the envelope the names of the three members of the judicial

committee are written and in usual circumstances only those three elders are allowed access to

the contents of the envelope.l

        13.      Because open and free communication with congregation elders is essential to the

spiritual welfare of congregation members, the importance of privacy and confidentiality is

carmot be overstated. The confidentiality of spiritual communications has been discussed often

in publications of Jehovah's Witnesses, such as those referred to in Paragraph 8 of this Affidavit.

Congregants expect that spiritual communications with congregation elders will remain

confidential. Moreover, if an elder were to be compelled to disclose confidential information,


I In case an elder moves away, is no longer serving as an elder, or dies, another elder would be appointed to take that
one's place on the judzcza~ committee.

                                                       5
                                         Affidavit of A. Hernan Steele




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      Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 43 of 118




     his credibility and effectiveness as an elder and the credibility and effectiveness of all elders

      would be compromised. Congregants would be hesitant to reveal their personal and spiritual

     problems to the elders if such private information could ba disclosed in legal proceedings.

              14.      On the basis of Scriptures such as those referred to in Paragraph 8 of this

     Declaration, Jehovah's Witnesses believe that the confidentiality of private spiritual

      corrununications with elders is not limited to confessions only. All private communications of a

      spiritual nature, including those that take place in the course of an investigation or a judicial

      committee proceeding are confidential. Additionally, based upon the Holy Scriptures and the

      religious beliefs and practices of Jehovah's Witnesses, such confidentiality extends to

      congregation files, notes, papers, reports, minutes or other documents prepared in conjunction

      with, or as a result of, private spiritual communications. Any such files, notes, papers, reports,

      minutes or other documents of this nature axe kept in sealed envelopes under lock and key,

      making them accessible only to those local elders who served on the judicial committee (and to

      elders in the Service Department as needed). Tf the disclosure of such documents were to be

      compelled, the credibility and effectiveness of those entrusted with the spiritual welfare of the

      congregation would be compromised.

                                                     ~*~

              Executed this 6th day of March, 2015 at Patterson, New York.




                                                    A. H    an     ~

      Subscribed and sworn to before me by A. Hernan Steele, known to me personally, this 6th day of
      March,2015.

                                                 ~~
                                       Notary ublic, State of New York                             ,.
         COREY R STEWART
NOTARY PUBLIC-STATE OF NEW YORK
         No. O1 ST6263503                               6
   6~ualltied in Pufnam County
                                          Affidavit of A. Hernan Steele
My Commlas~on Explr+re June 11, 2016




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 Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 44 of 118




                                    CAUSE NO. DC-14-12402

JOHN DOE T, et al.,                             §                IN THE DISTRICT COURT

VS.                                             §

WATCHTOWER BIBLE AND TRACT
SOCIETY OF NEW YORK,INC.                        §
(and/ox d/b/a or a/lc/a WATCHTOWER              §
BIBLE AND TRACT SOCIETY OF                      §                DALLAS COUNTY,TEXAS
PENNSYLVANIA,INC.), KINGDOM                     §
HALL JEHOVAH'S WITNESSES
(CENTRAL ENGLISH)OF DALLAS,                     ~
TEXAS,T~INGDOM HALL                             §
JEHOVAH'S WITNESSES OF                          §
PLANO,TEXAS,KINGDOM HALL                        §
JEHOVAH'S WITNESSES OF                          §
 GREENVILLE,TEXAS,AND                           §
REGINALD TYRONE JACKSON                         §                14~ JUDICIAL DISTRICT


                       AFFIDAVIT OF CUSTODIAN OF RECORDS

STATE OF NEW YORK             §

COUNTY OF PUTNAM              §

       Before ine, the undersigned notary, on this day personally appeared Richard Ashe, Jr.

After I administered an oath to him, upon his oath he said:

       1.      My name is Richard Aslie, Jr. I am over the age of eighteen and I' ain fully

competent to make this Affidavit.

        2.     All facts stated in this Affidavit are true and correct based on i~iy personal

knowledge.

        3,     I ain a custodian of records for the Service Depai~tinent at the U.S.. Branch Office

 of Jehovah's Witnesses in Patterson, New Yorlc.

        4.     Attached to this Affidavit are 8 pages of records. These records are kept by the

 Service Department in the regular course of business, and it was the regular course of business of


 AFFIDAVIT OF CUSTODIAN OF RECORDS                                                           Page 1
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 Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 45 of 118




the Service Department for an agent or representative ofthe Service Department with knowledge

of the act, event, condition, opinion, or diagnosis that was recorded, to snake this record or to

transmit the information to be included in this record. The record was made at or near the tune

or reasonably soon after the act, event, condition, opinion, or diagnosis that was recorded. The

records attached to this affidavit are the originals or exact duplicates ofthe originals.

       FURTHER AFFIANT SAYETH NOT,




        BEFORE ME,the undersigned authority, on this day personally appeared Richard Ashe,

Jr. who, after being duly swoni, stated under oath that he has read the above affidavit and that

every statement contained in the Affidavit is true and correct based upon his personal

knowledge.

        Swoi-~l to and subscribed before me by Richard Ashe, Jr, on the 26th day of June, 2015.



                                               Notarli~hn arr~e State ofNew York
~~EAI:.,]
                                                                 /A, HERNAN STEELS
                                                              Notary Public, State of New York
                                                             (Registration ~01St6106293
                                                                Glualified In Putnam County
                                                             Commission Expires Mar. 1, 2016




 AFFIDAVIT OF CUSTODIAN OF RECORDS                                                               Page 2
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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 46 of 118




     TIIE McCABE LAW FIRM, APC
 1   James M. McCabe SBN 51040
 2   4817 Santa Monica A venue
     San Diego, CA 92107
 3   Telephone: (619) 224-2848
     Facsimile: (619) 224-0089
4
     Attorney for Watchtower Defendants
 5

 6                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                    COUNTY OF SAN DIEGO
 7

 8 JOHN DORMAN, Individually, and JOEL
 9   GAMBO~ Individually,
                                                        Case No.: 37-2010-00092450-CU-PO-CTL
10          Plaintiffs,

11          v.                                           EXHIBIT 1
12   DEFENDANT DOE 1, La Jolla Church,                  AFFIDAVIT OF RICHARD ASHE, JR.
13   DEFENDANT DOE 2, Linda Vista Church,
     and DEFENDANT DOE 3, Supervisory
14   Organization, DEFENDANT DOE 4,
     Perpetrator, and DOES 5 through 100,
15   inclusive,

16          Defendants.

17

18          I, Richard Ashe, Jr., after being duly sworn, depose and state and if called to testify

19   would do so as follows:
20
            1.      I am over 18 years of age, of sound mind, and competent to make this Affidavit.
21
     I have personal knowledge of the matters contained herein, and they are all true and correcL
22

23
            2.      I reside in Patterson, New York and have served as an elder in the faith of

24   Jehovah's Witnesses since about 1984.

25          3.      Since November 1999, I have served in the Service Department at the U.S.

26   Branch Offices of Jehovah's Witnesses in Patterson, New York. I provide spiritual assistance to
27
     congregation elders who call or write the Service Department for help. Prior to March 2001, the
28
                                                -1-
                                     AFFIDAVITOFfilCHARDASHE,JR.

                                                                          CAEKAERT/MAPLEY 005033
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 47 of 118




     spiritual assistance provided by the Service Department, along with the appointment of elders,
1
2    was communicated to congregations of Jehovah's Witnesses through the Watchtower Bible and

3    Tract Society of New York, Inc. Since March 2001, this has been communicated through the

4    Christian Congregation of Jehovah's Witnesses. Prior to November 1999, I served as a circuit

5 overseer from August 1990 until November 1999.
6
            4.        My duties in the Service Department also include monitoring the functioning,
7
     organization, and staffing of congregations of Jehovah's Witnesses, including reviewing the
 8
9    qualifications for the appointment of elders to congregations of Jehovah's Witnesses in the

lO   United States.

11                                  QUALIFICATIONS OF ELDERS

12          5.        Jehovah's Witnesses are not automatically appointed to serve as congregation

13   elders. Rather, they must first meet certain qualifications that are outlined in the Bible, as
14
     follows: Before a male member of the congregation can be considered for appointment as a
15
     congregation elder, he must first be baptized as one of Jehovah's Witnesses. Next the individual
16
17   must gain further knowledge of the Holy Scriptures and show a willingness to be used in a

18   further way to assist others in the congregation. If he shows such a willingness, he must then

19   meet Scriptural qualifications set out in 1 Timothy 3:8-13. Thereafter, he may qualify and be

20   appointed as a ministerial servant. Although a ministerial servant would not provide spiritual
21
     supervision in the congregation, he could be assigned certain tasks to assist the congregation
22
     elders as they carry out their duties. After a period of time-perhaps many years-a ministerial
23
     servant who has faithfully carried out his assignments and has gained more experience may
24

25   meet the qualifications of a congregation elder as outlined in 1 Timothy 3:1-7 and Titus 1:6-9.

26   When this occurs, the congregation elders will make this recommendation to the circuit overseer

27   (a representative of the Branch office who is also an experienced elder). H the circuit overseer
28
                                                   -2-
                                      AFFIDAVIT OF RICHARD ASHE, JR.



                                                                       CAEKAERT/MAPLEY 005034
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 48 of 118




     agrees with the recommendation, it will then be forwarded to the Branch office's Service
1
2    Department. Approved elders in the Service Department will then review the recommendation

3    in accord with the guidelines outlined in the Holy Scriptures, adopted by the Governing Body of

4    Jehovah's Witnesses. The Branch office will then inform the local congregation's body of

5    elders, in writing, of their determination with regards the recommendation.
6
              6.    If an individual is appointed to serve as a congregation elder, the letter of
7
     appoin1ment from the Branch office is read to the congregation. It is at this time that he is
 8
 9   officially vested vvith ministerial authority. In other words, he is appointed as a congregation

10   elder.

11            7.    Jehovah's Witnesses who serve as appointed elders are recognized as ordained

12   ministers and congregation elders.
13
              8.    Like Jesus and his apostles, congregation elders do not receive a salary for their
14
     ministerial work.    Nonetheless, as ordained ministers and congregation elders, they are
15
     responsible for providing spiritual supervision to the congregations, which includes hearing
16
17   confessions and other confidential spiritual communications made to them by members of the

18   congregation who are seeking spiritual counsel, advice or comfort

19            9.    Congregation elders are authorized to hear confessions and other confidential

20   spiritual communications and to provide confidential spiritual counsel, advice, and comfort by
21
     virtue of the Holy Scriptures and the Governing Body of Jehovah's Witnesses.
22
              IO.   According to the religious beliefs and practices of Jehovah's Witnesse~
23
     congregation elders are expected to keep confession and other confidential spiritual
24
25   communications confidential. An elder who reveals such a confession or other confidential

26   spiritual communication. without the express pennission of the one making the confession or

27 • confidential spiritual communication may be disqualified from serving as an elder.
28
                                                    -3-
                                     AFFIDAVIT OF RICHARD ASHE, JR.



                                                                         CAEKAERT/MAPLEY 005035
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 49 of 118




               11.    All elders of local congregations of Jehovah's Witnesses, including the Linda
1
2    Vista Spanish and Playa Pacifica Spanish congregations in San Diego, California, are and were

3 at all times relevant to this case ordained ministers and the spiritual leaders of their respective

4    congregations.
5                                          DUTIES OF ELDERS
6
               12.    As with all congregations of Jehovah's Witnesses, the Linda Vista Spanish and
7
     Playa Pacifica Spanish elders frequently provide spiritual counsel, advice, and comfort to
8
9    members of the congregation concerning highly confidential and personal matters of a spiritual

10   nature.

11             13.    In addition, at all times relevant to this case, the Linda Vista Spanish and Playa

12   Pacifica Spanish elders occasionally communicated with elders serving in the Branch Office's
13
     Service Department, as well as with elders serving as circuit or district overseers, in order to
14
     receive spiritual counsel and advice as to how to apply the religious doctrine and procedmes of
15
     Jehovah's Witnesses to issues concerning the congregation and its members. As discussed more
16
17   fully below, the religious beliefs of these elders also require that any confidential spiritual

18   communications between elders serving in the Branch Office's Service Department, elders

19   serving as circuit or district overseers, and congregation elders must be kept strictly confidential.

20   The spiritual counsel and advice given by the elders serving in the Branch Office's Service
21
     Department, elders serving as circuit or district overseers, and congregation elders is based on
22
     Jehovah's Witnesses' understanding of the Bible.
23
               14.    The elders of congregations of Jehovah's Witnesses are also responsible for
24
25   conducting what is referred to as "judicial investigations" when a member of a congregation is

26   accused of serious Scriptural wrongdoing. Judicial investigations are carried out by two elders

27   selected by the congregation body of elders.
28
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                                       AFFIDAVIT OF RICHARD ASHE, JR


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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 50 of 118




            15.    The goal of a judicial investigation is to make certain that the Christian
1
2    congregation remains spiritually and morally clean. (James I :26) In doing so, if the elders

3    confirm that serious Scriptural wrongdoing has occurred, a judicial committee of at least three

4    elders is selected by the congregation body of elders to endeavor to provide spiritual assistance

5    to the congregant who may have sinned, with the hope of assisting them to regain their
6
     spirituality and relationship with God. (Galatians 6:1, 2) At times, a judicial committee will
7
     determine that an accused congregant should be spiritually disciplined internally, based on
 8
 9   Jehovah's Witnesses' understanding of the Bible.

IO          16.     Spiritual discipline administered by elders of Jehovah's Witnesses serving on a

11   judicial committee is based solely on Jehovah's Witnesses' understanding of the Bible as

12   applied to the facts of the matter. Where a serious sin is involved and the accused person is

13   repentant, the judicial committee may recommend private or public reproof. But if the person
14
     who committed a serious sin cannot be brought back to repentance, the individual will have to
15
     be disfellowshipped. When a member is subject to public reproof or disfellowshipping, an
16
17   announcement is made during a congregation meeting simply to the effect that "[name] has been

18   reproved" or"[name] is no longer one of Jehovah's Witnesses."

19           17.    Jehovah's Witnesses recognize the Bible's admonition to confess ones sins to

20   God. 1 John 1:8, 9 ("Ifwe confess our sins, he is faithful and righteous so as to forgive us our
21
     sins and to cleanse us from all unrighteousness.").
22
             18.    In addition Jehovah's Witnesses also believe that there can be much benefit from
23
     speaking to the congregation elders ("older men") regarding such confidential matters. James
24
25   5:13-16 ("Is there anyone suffering evil among YOU? Let him carry on prayer. Is there anyone

26   in good spirits? Let him sing psalms. Is there anyone sick among YOU? Let him call the older

27   men of the congregation to [him], and let them pray over him, greasing [him] with oil in the
28
                                                    -5-
                                      AFFIDAVIT OF RICHARD ASHE, JR

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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 51 of 118




     name of Jehovah. And the prayer of faith will make the indisposed one well, and Jehovah will
1
2    raise him up. Also, ifhe has committed sins, it will be forgiven him. Therefore openly confess

3    YOUR sins to one another and pray for one another, that YOU may get healed."). Jehovah's

4    Witnesses view confessions and other confidential and private communications of a spiritual

5    nature between congregants and elders as communications that elders must keep confidential.
6
     Proverbs 25:9.
 7
            19.       Jehovah's Witnesses do not believe that the confidentiality of spiritual
 8
 9 communications they may have with the congregation elders is limited to confessions. Rather,

10   as outlined in James 5: 13-16, Jehovah's Witnesses are encouraged to seek the spiritual counsel

11   and advice of the elders in a variety of life situations. Congregation elders are also encouraged

12   to seek spiritual connsel and advice from elders serving in the Branch Office's Service

13   Department, or from elders serving as circuit or district overseers, in order to receive spiritual
14
     counsel and advice as to how to apply the religious doctrine and procedures of Jehovah's
15
     Witnesses to issues concerning the congregation and its members, and on occasion congregation
16
17   elders seek such spiritual counsel and advice. Such confidential spiritual communications from

18   congregation elders are only handled by elders in the Branch Office Service Department. In

19   addition, if a congregation member is disfellowshipped, the judicial committee elders forward a

20   notice of disfellowshipping to Branch Office elders for their review to ensure that their decision
21
     was spiritually based and well founded. The notice of disfellowshipping has the name of the
22
     disfellowshipped person, the date of disfellowshipping, and the Scriptural basis for
23
     disfellowshipping. Jehovah's Witnesses view all such spirimal communications as confidential
24
25   communications that must be kept strictly confidential.

26          20.       Elders do not allow unnecessary third parties to be a party to a confidential

27   communication. However, at times more than one elder may be a party to the conversation. For
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                                      AFFIDAVIT OF RICHARD ASHE, JR.

                                                                        CAEKAERT/MAPLEY 005038
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 52 of 118




     instance, it is Jehovah's Witnesses religious belief and practice to have at least two elders
1
2 present dming a judicial investigation and at least three elders present during a judicial
3    committee. (Deuteronomy 17:6; Deuteronomy 19: 15; Matthew 18: 15-1 7; 2 Corinthians 13: 1; 1

4    Timothy 5:19) Before one becomes one of Jehovah's Witnesses, he would be made aware of

5 this provision. Your Word Is a Lamp To My Foot, pages 176-79; Organization for Kingdom-
6
     Preaching and Disciple-Making, pages 159-65; Organized to Accomplish Our Ministry, pages
7
     145-47; Organized To Do Jehovah's Will, pages 151-2. In addition, there may be instances
8
9    where a husband and wife, or a parent and child, may together seek or would be provided with

10   spiritual counsel, advice or comfort from the elders. Jehovah's Witnesses believe that men are

11   imperfect and, therefore, three elders serving on a judicial committee can provide more full and

12   complete spiritual counsel and advice based on a broader range of experience and knowledge

13   than can a single elder alone. The elders and participants to these confidential and private
14
     spiritual communications would view these communications as confidential and congregants
15
     would expect the elders to keep such communications strictly confidential.
16
            21.     In addition, the religious doctrine of Jehovah's Witnesses requires that all elders
17
18   keep these confidential and private spiritual communication strictly confidential.            The

19   Watchtower, April 1, 1971, pages 222-224; Kingdom Ministry, July 1975; The Watchtower,

20   December 15, 1975, pages 764-66; The Watchtower, September I, 1983, pages 21-26; The
21
     Watchtower, September 15, 1989, pages 10-15; The Watchtower, September I, 1991, pages 22-
22
     27; The Watchtower, November 15, 1991, pages 19-23. Indeed, an elder who reveals the
23
     contents of such a confidential communication may be subject to removal.
24
25          22.     In this case, Withheld Documents l, 11, and 15-17, referenced in Plaintiffs' Ex

26   Parte Application Re Production of Withheld Documents and Plaintiffs' Notice of Motion and

27   Motion to Compel Further Documents From Defendants, were all received by or sent by elders

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                                     AFFIDAVIT OF RICHARD ASHE, JR.


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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 53 of 118




     servmg in the Branch Office's Service Department and are the type of confidential
 1
 2   communications and documents described in paragraphs 13-21 above, which must be kept

 3   strictly confidential. The undersigned therefore claims and does not waive the penitent privilege

 4   as to any of the Withheld Documents.

 5

 6   SIGNED this the       ;2     day of May, 2011.
 7
     I declare under penalty of perjury under the laws of the               of New York that the foregoing is
 8 true and correct to the best of my information, beli , ,._,.....,.,...
 9

IO
11   STATEOFNEWYORK                        )
                                           ) ss.:
12   COUNTY OF PUTNAM                      )
13
     SUBSCRIBED AND SWORN TO BEFORE ME
14   which witness my hand and official seal.

15

16
                                                                     OBERT J. BUDRECKI
17                                                             Notary Public, State Of New York
                                                                      No. 01BU6003185
                                                                 Qualified In Putnam County 1/ 1
18                                                             Commission Expires 02/23/20/7

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                                         AFFIDAVIT OF RJCHARD ASHE, JR.

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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 54 of 118




                                                  CAEKAERT/MAPLEY 007325
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 55 of 118




                                                  CAEKAERT/MAPLEY 007326
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 56 of 118




                                                  CAEKAERT/MAPLEY 007327
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 57 of 118




                                                  CAEKAERT/MAPLEY 007328
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 58 of 118




                                                  CAEKAERT/MAPLEY 007329
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 59 of 118




                                                  CAEKAERT/MAPLEY 007330
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 60 of 118




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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 61 of 118




                                                  CAEKAERT/MAPLEY 007316
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 62 of 118




                                                  CAEKAERT/MAPLEY 007317
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 63 of 118




                                                  CAEKAERT/MAPLEY 007318
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 64 of 118




                                                  CAEKAERT/MAPLEY 007319
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 65 of 118




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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 66 of 118




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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 67 of 118




                                                  CAEKAERT/MAPLEY 007322
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 68 of 118




                                                  CAEKAERT/MAPLEY 007323
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 69 of 118




                                                  CAEKAERT/MAPLEY 007324
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 70 of 118
      HNT-L-000336-19 09/23/2019 9:32:08 AM Pg 1 of 2 Trans ID: LCV20191713292




                                                    SUPERIOR COURT OF NEW JERSEY
LYNN HAGGAN AND TARAH BIRD                          LAW DIVISION
                                                    HUNTERDON COUNTY
                        Plaintiffs,
                                                    DOCKETNO.: HNT-L-000336-19
                 vs.
                                                                      Civil Action
WATCHTOWER BIBLE AND
TRACT SOCIETY OF NEW YORK,
INC., WATCHTOWER BIBLE AND                                CERTIFICATION OF THOMAS
TRACT SOCIETY OF                                               JEFFERSON, JR.
PENNSYLVANIA, CHRISTIAN
CONGREGATION OF
JEHOVAH'S WITNESSES, INC. AND
DONALD NICOLSON

                        Defendants.



I, Thomas Jefferson, Jr., being of full age, hereby certify as follows:


        1.       I am the Assistant Secretary and Assistant Treasurer for defendant Christian

Congregation of Jehovah's Witnesses ("CCJW").

       2.        In this role, I have direct knowledge of the infonnation contained m this

Certification.

        3.       CCJW is a non-profit religious corporation formed on August 21, 2000, under the

laws of the State of New York. See Exhibit 1.

       4.        CCJW has its own assets, liabilities, offices, Board of Directors, and officers,

separate from every other entity used by Jehovah's Witnesses anywhere in the United States.

        5.       It is not the direct or indirect parent or subsidiary of any other corporation

involved in this proceeding.

        6.       CCJW is not an affiliate of, or have any legal relationship to Defendant

Watchtower Bible and Tract Society of New York or Watch Tower Bible and Tract Society of

Pennsylvania (collectively, the "Watchtower Parties").

        7.       CCJW does not directly or indirectly own any shares of the Watchtower Parties.




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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 71 of 118
      HNT-L-000336-19 09/23/2019 9:32:08 AM Pg 2 of 2 Trans ID: LCV20191713292




       8.      CCJW's purposes are religious, educational, and charitable.

       9.      CCJW supports the religious worship of Jehovah 's Witnesses in the United States

and serves certain business needs of Jehovah's Witnesses, such as signing venue contracts for

conventions and assemblies.

        10.    CCJW provides humanitarian assistance to individuals suffering from natural and

man-made disasters.

        11 .   CCJW has separate bank accounts, and a separate tax ID number from the

Watchtower Parties.

        12.    CCJW was formed as a separate and distinct legal entity from the Watchtower

Parties and it is not a successor or continuation of the Watchtower Parties.

        13 .   The Watchtower Parties are still in existence.

        14.    CCJW never acquired any assets or agreed to assume liabilities of the Watchtower

Parties or any other entity.


        I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.
                                                                               '


                                              Thomas Je
Dated: September L O , 2019




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               Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 72 of 118
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                                 IN THE SUPERIOR COURT OF THE STATE OF CALD'ORNIA
                                          IN AND POR THE COUNTY OF PLACER

             KENL.                                                  )      CASE NO.: 52594
                                                                    )
                                      Plaintiff                     )      Judicial Co1D1cil Coordination
                                                                    )      Proceeding No.
                                      v.                            )
             WATCHTOWER BmLB AND TRACT                              )      Coordinated with Napa County
             SOCIETY OF NEW YORK, INC., et al                       )      Superior Court Case No.
                                                                    )
                                      Defendants.                   )      DECLARATION OF
                                                                           WILLIAM E. BLORE
                                                                    )
             AND COORDINATED ACllONS.                               )



                         f, William E. Blore, after being duly swom, depose and say:

                         l.           That I am over 21 years of age and reside in Chicago Park, Calitbrnia.

                         2.           That I am a duly ordained minister and elder of the West Congregation of

             Jehovah's Wrtnesses, Colfax. Califumia.

                         3.           Thai I am thoroughly familiar with tbe religious beliefs, teachings, and practices

             of Jehovah's Witnes.,es.

                         4.           Thal duly ordained ministers of Jehovah's W1tncsscs KSl)Onsiblc for teaching a.nd

             past<>ral care of conaregation         mmmers are called "elders."
                         S.           That It is a religious belief and practke of Jehovah's W"rtncsses based on Ood's

             Word, the Bible, that an cklcr bu a rcspollSl"bility to provides spiritual counseling to those who

             seek it, and that any person who needs spiritual help or is aware of another in such need should

             approach the congregation elders and convey to them whatever illfonnation may be needed to

            provide spiritual assistance to the erring one. (Isaiah 32:2; James S:14-16; Hebrews 13:17.) In




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               Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 73 of 118
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            addition, for similar reasons, there are times when elders initiate discussions relatiog to the

            spiritual condition of coopegation members.

                       6.            That it is the religious belief and practice of Iehovah,s Witnesses. based upon

            Scripture and church tradilion. that cldets must maintain in strict (()nfidence any church

           communications with congregants coDDCCtcd with the med for spiritual help or coun,eling, and

            congregants ~cct such communications to elders are and will remain oonfidential-reaardless

            of who toniared the colMll8tion.-Proverbs lS:22; 2S:9, 10.

                       7.            That revealing such confidential coJDIDUDicadons would call illlo question an

           eider's qualifications and couJd resuh .in his mnoval as an elder in the congregation.

                       8.            That if I or any elder is compelled to disclose such confidential information, our

           credibility and eff'ectivemss as elders would be adversely affected and compromised, since

           coogreean~ will no longer be able to 1rUSt and rely that problems and oonfidential iofunnation

           they disclose to elders will not be ~ through discovery and used against them in a court

           action.

                       9.            That the requiremeut of keeping communications to elders confidential is

           explained in the official publications of Jehovah's W'Jtncsscs as fbllows:

                              In each co.ogreption of Jehovah", wimcssc:s there me mature ministers
                      appomted to care fbr various assignments. (I Tim. 3:2, 12) As they discharge
                      their duties they often are told about confidential things, and it is csselJtial that
                      they respect this ~nfideuce. For instance, James 5:13-16 shows that a member
                      of the cougrept.,11 who bas some spiritual problem, perhaps even having com-
                      mitted a sin, should go to the spiritually older men fur help. Isaiah 32:2 propheti-
                      cally pictured these men as places of comfort and protcmon. What a fine thing it
                      is to be able to explain one's problem and get balanced spiritual help, and at the
                      same time have :full confidence that the matter will not become general knowl-
                      edge in the couareption or C'\rnonmity,
                              Those mature ministers will not discuss even with their wives and close
                      friends what they thus learn in confidence. They know that if they did so it would



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             Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 74 of 118
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                     uodermine respect for their positions; it would make individuals hesitant to come
                     to them; yes. in time it might even .make it impossib]e for them to fulfill their role
                     as spiritual shepherds.

           The Walchtower, April 1, 1971,p. 223.

                     10.          That it is also the religious belief and practice of Jehovah's Witnesses, based upon

          Scripture and church tradition, to keq, congregation files, papers, reports, mmutes or other

           docwnems prepared in co)\junction with, or as a result o( the above-described confidential

          coomnmications, confidential.

                     11.          That if I or any other elder is compelled to produce- any papers, reports, minutes

          or other documents prepared in conjunction with or as a result of the above-described

          confidential communications. our credibility and effectiveness will be adversely affected and

          compromised, and the confidentiality ofthe oral communications will be rendered worthless.

                     12.          That I and otber elders ftom the Colfax Congregation, Califumia. met with Albert

          Harriman several times in tnid to late 1987 so as to provide him with spiritual counsel and

          assistance. There were no non-clergy or other third persons present during these confidential

          meeriop with Mr. Harriman. &cause Albert Harriman was an appointed congregation elder at

          the time, a written and confidential report was sent by the elders who met with him to the elders

          in the United States Service Department             mr Jebovah,s Witnesses, as required by chnrch practice
          and procedure, for their review of Mr. Hmriman's spiritual qualifications as an elder and for any

          additional spiritual coumol aDd assistance for Mr. Harriman or the three elders who met with

          him. An additional confidential. report was sent, as required by church practice and proced~

          by the three elders who met with him when he was disfellowshipped in October 1987.

                     13.          I (Ir.elate under penalty of perjury under the laws of the State of California that the

          foregoing is true and correct to the best of my infi>rmation. belief: and .kJiowledge.



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              Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 75 of 118
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                                             Respcctfiilly submitted,



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       Case 2:14-cv-00205-cr Document 70-7 Filed 10/13/15 Page 1 of 7
    Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 76 of 118




                         DECLARATION OF DOUGLAS CHAPPEL


        I, Douglas Chappel, declare as follows:

        1.     I am over 21 years of age, of sound mind, and competent to make this
Declaration. I have personal knowledge of the matters contained herein and they are all true and
correct. If called to testify I could and would testify as follows:
       2.      I reside in Patterson, New York, and have served as an elder in the faith of
Jehovah's Witnesses since 1984.
       3.      On January 29, 1975, I began serving at the U.S. branch offices of Jehovah's
Witnesses in New York and I have been serving in the Service Department of the U.S. branch
offices ("Service Department") since October 15, 1980. I, along with a few other qualified
elders, provide spiritual assistance and guidance to elders in congregations of Jehovah's
Witnesses across the United States who call or write to the Service Department. The elders in
the Service Department also monitor the functioning and organization of congregations of
Jehovah's Witnesses in the United States.
       4.      In the Service Department I oversee the spiritual advice and counsel given to
congregation elders who call or write to Service Department elders for assistance, including but
not limited to assistance regarding persons who have been disfellowshipped (expelled) from
congregations of Jehovah's Witnesses.
       5.      I am thoroughly familiar with the religious beliefs, policies, and practices of
Jehovah's Witnesses and with the Scriptural basis for those religious beliefs, policies, and
practices
       6.      In accord with the beliefs and practices of Jehovah's Witnesses, elders serving in
the Service Department are ordained ministers and who have also been appointed as
congregation elders.
       7.      Local congregations of Jehovah's Witnesses receive spiritual oversight and
pastoral care from a small group of ordained ministers who serve as appointed congregation
elders (hereinafter referred to as "elders"). (Philippians 1:1; 1 Timothy4:14; Titus 1:5.) Before
being appointed as an elder, an individual must meet the qualifications for such service as
outlined in the Bible, 1 Timothy 3: 1-7; Titus 1:5-9, and must be recommended by the body of
       Case 2:14-cv-00205-cr Document 70-7 Filed 10/13/15 Page 2 of 7
    Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 77 of 118




elders in his congregation, and approved by the circuit overseer (i.e., traveling elder) serving his
congregation. ("Questions from Readers-How Are Elders and Ministerial Servants Appointed
in Each Congregation?" The Watchtower 28-29 (Nov. 15, 2014); "Overseers and Ministerial
Servants Theocratically Appointed," The Watchtower 12 (Jan. 15, 2001).) Once an individual
has been appointed to serve as an elder, an announcement is made to the congregation and the
individual is officially vested with ministerial authority as an elder. All elders of the Bellows
Falls Congregation, Vermont, are and were at all times relevant to this case ordained ministers
and spiritual shepherds of the congregation. Similarly, elders in the Service Department are
ministers who provide spiritual assistance and guidance to and answer questions from elders
throughout the United States. As of September 1, 2014, the Service Department no longer
appoints elders; now, special overseers called "Circuit Overseers" make these appointments.
       8.      Congregation elders care for spiritual welfare and instruction of congregation
members. (1 Peter 5:1-3; "Shepherds, Imitate the Greatest Shepherds," The Watchtower 26
(Nov. 15, 2013); "'Shepherd the Flock of God in Your Care,"' The Watchtower 20 (June 15,
2011).) In caring for their pastoral responsibilities, elders frequently provide spiritual counsel
and advice to congregation members concerning highly confidential personal matters.             For
example, elders hear confessions and receive other private, confidential communications so that
they may provide appropriate guidance and counsel based on the Holy Scriptures. (Proverbs
28:13; Galatians 6:1; James 5:13-20.) According to the beliefs and practices of Jehovah's
Witnesses, congregation elders keep confessions and other confidential spiritual communications
confidential. (Proverbs 10:19; 11:13; 25:9; "'An Overseer Must Be ... Self-Controlled,"' The
Watchtower 19, 23 (Nov. 15, 1991); "Overseers-Be Fine Examples to 'the Flock,'" The
Watchtower 21, 24 (Sept. 1, 1980); "Where Can You Tum with Confidence?" The Watchtower
764, 766 (Dec, 15, 1975).)
        9.     Congregation elders regularly communicate with each other and occasionally
communicate with Branch Office elders on matters of doctrine, spiritual counsel, pastoral care,
and organizational procedure. (Proverbs 11: 14; 15 :22; "Congregation Elders-'Preside in a Fine
Way'!" The Watchtower 153, 154 (Mar. 1, 1977).) All such spiritual communications are strictly
confidential in accordance with the Scripturally-based beliefs and practices of Jehovah's
Witnesses.
       Case 2:14-cv-00205-cr Document 70-7 Filed 10/13/15 Page 3 of 7
    Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 78 of 118




       10.     According to longstanding policies, whenever a member of Jehovah's Witnesses
moves from one congregation to another, a letter of introduction is sent from the former
congregation elders to the new congregation elders. This letter allows the Body of Elders in the
new congregation to assess the member's spiritual condition and possible need for pastoral care.
Additionally, if the member served in an appointed position in the former congregation, the letter
of introduction contains a recommendation whether the member should continue to serve in the
new congregation.
       11.     Congregation elders also investigate reports and confessions of wrongdoing (sin)
by congregation members. The investigations are handled by two elders and, in cases of serious
wrongdoing, a judicial committee (usually of three elders) will provide pastoral counsel and
administer any needed spiritual discipline to the erring one.               ("Elders, Judge with
Righteousness," The Watchtower 14 (Jul. 1, 1992).) The purpose of such investigations and
judicial action is to help those who have erred regain their spiritual health and repair their
relationship with God and to ensure that the congregation remains spiritually and morally clean.
("Appreciating the Purpose of Discipline," The Watchtower 20 (Oct. 1, 2003).) The elders on a
judicial committee will give the erring one spiritual counsel and appropriate spiritual discipline
based on Jehovah's Witnesses' understanding of the Bible. Jehovah's Witnesses believe that
investigations by at least two elders and judicial committees of at least three elders provide
better, more complete spiritual counsel and advice based on the greater experience and
knowledge of multiple elders. Pursuant to the beliefs and practices of Jehovah's Witnesses, all
communications during investigations and judicial committee proceedings are considered private
and are kept strictly confidential by all present, including the accused congregant and elders.
        12.    When an investigation establishes that a serious sin has been committed, the
elders on the judicial committee may decide to reprove privately or reprove and make a public
announcement or disfellowship (expel) the erring one, depending on the facts and, most
important, the individual's repentance. If the erring one is reproved and it is decided that an
announcement is to be made or the erring one is disfellowshipped, an announcement is made to
the congregation that "[name) has been reproved" or "[name) is no longer one of Jehovah's
Witnesses." (1 Timothy 5:20; "Always Accept Jehovah's Discipline," The Watchtower 26, 30
(Nov. 15, 2006); "Repentance Leading Back to God," The Watchtower 22, 26 (Sept. 1, 1981);
"Giving Reproof 'Before All Onlookers,'" The Watchtower 731 (Dec. 1, 1977).) In cases of
        Case 2:14-cv-00205-cr Document 70-7 Filed 10/13/15 Page 4 of 7
     Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 79 of 118




disfellowshipping, the judicial committee elders notify Branch Office elders to ensure that their
decision was Scripturally-based and well-founded. The notice of disfellowshipping includes the
name of the disfellowshipped person, the date the disfellowshipping was announced, and the
Scriptural basis for disfellowshipping.
       13.     The confidentiality of spiritual communication between congregation members
and congregation elders is fundamental to the religious beliefs and teachings of Jehovah's
Witnesses. Proverbs 20:19; Proverbs 25:9. Jehovah's Witnesses accept the Bible's admonition
to confess one's sins to God (Psalm 32:5; James 5:16; 1 John 1:9) and they believe that there is a
great benefit in speaking to congregation elders about confidential spiritual matters.
Accordingly, Jehovah's Witnesses encourage those who are distressed or spiritually weak to
approach the congregation elders, confide in them, and receive spiritual assistance.
       14.     Because free and open communication between congregation members and elders
is essential to the spiritual welfare of congregation members, the importance of privacy and
confidentiality is hard to overstate. The confidentiality of spiritual communications has been
discussed often in publications of Jehovah's Witnesses, such as those I refen-ed to in Paragraph 8
above. Congregants expect that spiritual communications with congregation elders will remain
confidential. If an elder were to be compelled to disclose confidential information, his credibility
and effectiveness as an elder-and the credibility and effectiveness of all elders in the
congregation-would be severely compromised. Congregants would be hesitant to reveal their
personal, spiritual problems if such private information could be disclosed in legal proceedings.
       15.     On the basis of Scriptures such as those refen-ed to above, Jehovah's Witnesses
believe that the confidentiality of private spiritual communications with elders is not limited to
confessions only. All private communications of a spiritual nature, including those made in the
course of investigations or judicial committee proceedings, are confidential. Additionally, based
upon the Holy Scriptures and the religious beliefs and practices of Jehovah's Witnesses, such
confidentiality extends to congregation files, notes, papers, reports, minutes or other documents
prepared in conjunction with, or as a result of, private spiritual communications.            If the
disclosure of such documents were to be compelled, the credibility and effectiveness of those
entrusted with the spiritual welfare of the congregation would be compromised.
        16.    I have reviewed copies of Plaintiff's First Set of Requests for Production of
Documents to Defendant Watchtower Bible and Tract Society of New York, Inc. ("Plaintiff's
        Case 2:14-cv-00205-cr Document 70-7 Filed 10/13/15 Page 5 of 7
     Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 80 of 118




RFP"), (collectively "Plaintiffs Requests"), including Request No. 65 seeking all documents
received by Watchtower in response to the Body of Elders letter dated March 14, 1997 ("the
March 1997 Letter") and No. 67 seeking all ·documents concerning any report of abuse of a child
who is associated with a Jehovah's Witnesses congregation.
       17.     Request No. 65 of Plaintiffs RFPs seeks confidential documents sent to Service
Department elders by hundreds of the bodies of elders that serve in nearly 14,000 congregations
of Jehovah's Witnesses in the United States.      A review of all congregation files would be
required to respond to the request.
       18.     The March 1997 Letter sought to ensure that the congregations of Jehovah's
Witnesses in the United States were in compliance with the Holy Scriptures and with the
Witnesses' religious beliefs and practices regarding matters pertaining to child sexual abuse. In
addition, the March 1997 Letter asked each body of elders to write a confidential letter to the
Service Department elders reporting the details, if any, of anyone currently serving or who
formerly served in a position of responsibility and authority in the congregation who was known
to have committed child abuse.        These reports would allow Service Depaitment elders to
evaluate whether an individual, ifhe was then serving or m_ight later be recommended to serve in
a position of responsibility and authority, should be removed or not approved based on the facts
and circumstances. The March 1997 Letter also reminded congregation elders of the policy of
the Jehovah's Witnesses to inform another body of elders when someone who had been
determined to be guilty of child molestation moved to that congregation.
        19.    The rep011s sent to the Service Depaitment in response to the March 1997 Letter
are kept in individual confidential files maintained by the Service Department for each of the
nearly 14,000 congregations. Each congregation file contains documents addressing a variety of
spiritual matters including the functioning and organization of congregations of Jehovah's
Witnesses and reviews of the qualifications of individuals recommended for appointment as
elders and ministerial servants in congregations of Jehovah's Witnesses in the United States.
Although a typical congregation Service Department file contains hundreds of pages of
documents, the vast majority of the nearly 14,000 congregation Service Department files contain
no documents related to the subject of child abuse.
        20.    At present, a Watchtower Legal Department paralegal is physically examining
each file to locate any correspondence in response to the March 1997 Letter or related to the
        Case 2:14-cv-00205-cr Document 70-7 Filed 10/13/15 Page 6 of 7
     Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 81 of 118




subject of child abuse. Although these files are in electronic as well as a hard-copy fonnat,
physical examination of each file has been found necessary because a search for the tenns "child
abuse" or "child sexual abuse" did not find all documents responsive to plaintiffs Requests.
This is because the sin of child abuse is often described by elders by the Scriptural description of
the specific sinful act, such as "pomeia," "fon1ication," "loose conduct," or "uncleanness." In
addition, a search for these Scriptural tem1s often used by the elders has pulled up documents
unrelated to child abuse because "pomeia," "fornication," "loose conduct," or ''uncleanness"
include consensual sexual conduct between adults or similar age teenagers. Furthermore, a
search of the tenns "child abuse" or "child sexual abuse" pulled up documents for individuals
accused of child abuse who were never in an appointed congregation position and which
therefore are not related to the March 1997 Letter or Plaintiffs request.
       21.     I have reviewed many of the response letters to the Service Department from the
local congregation bodies of elders and I am familiar with their content.
       22.     Each letter is a confidential spiritual communication between Service Department
elders and local elder bodies for the purpose of seeking spiritual advice and guidance in
accordance with the Holy Scriptures. This correspondence was sent with the expectation that the
content thereof would remain private in accordance with the religious beliefs and practices of
Jehovah's Witnesses. Among other things, the letters contain identifying infonnation about each
of the accused, victims, reporting individuals and elders involved.
       23.     Most of the responses to the March 1997 letter were received in 1997 and 1998.
When anyone was reported as still serving in an appointed capacity, his situation was reviewed
by elders in the Service Department to determine which men still serving were to be removed.
       24.     The request for all documents pertaining to the abuse of any child associated with
Jehovah's Witnesses since 1960 is practically impossible to fulfill. Each of the 100 branches of
Jehovah's Witnesses around the world maintains its own files and the U.S. Branch Service
Department does not have access to documents not in the U.S.
        25.    The same privacy, confidentiality and privilege issues exist with any responsive
documents as exist with the responses to the 1997 letter to all bodies of elders. Also, the same
search constraints as described above exist for this inquiry.         No specific search has been
undertaken for such documents. I know of no one who has consented to his or her name or
        Case 2:14-cv-00205-cr Document 70-7 Filed 10/13/15 Page 7 of 7
     Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 82 of 118




situation being disclosed to anyone outside his or her present or former religious organization,
Jehovah's Witnesses.

        I declare under penalty of perjury of the laws of the State of New York that the foregoing
is true and correct.

        Executed on October 12, 2015 at Patterson, New York.


     A. HERNAN STEELE
Notary Public, State' of New York
 Registration #01ST6106293
  Oua_lifi~d In Putnam County
Commrssron Expires Mar. 1, 2016         __,r:;-
                                         : : = - - e ~
                                    -   "    Douglas Chappel, Declarant

Subscribed and sworn to before me this lb_ day of October, 2015.
    Case 2:14-cv-00205-cr Document 70-9 Filed 10/13/15 Page 1 of 2
 Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 83 of 118




                         DECLARATION OF MATIBEW REIMANl'J
        I, Matthew Reitn.anl\ declare as follows:
        1.      I am over 21 years of age, of sound mind. and competent to make this
Declaration I have personal knowledge of the matters corrmined herein and they are all true and
correct If called to ~1ify I could and would completely testify as follows:
        2.     I reside in Saxtons River, Vermont was baptized 11$ one of Jehovah's Witnesses
in 1968, and have served as an elder in the Bellows FalJs Congregation since 1986.
        3.     As an elder. I am responsible fur the pastoral care and spiritual instruction of
congregation members.       I provide spiritual counsel and advice to congregation members
concerning private~ confidential personal and spiritual matters.        In accord with the Holy
Scriptures, I am authorized to heiu- confessions and other private, confidential communications
and to provide spiritual guidance and counsel by virtue. And in accord with the religious beliefs
and practices of Jehovah's Witnesse.':J, I am expected to maintain the confidentiality of
confessions and other private spiritual comnmnicatiorui.
       4.      I regularly communicate with other congregation elders and occasionally
oonununicate with elders in other congregations and with Service Department elders on matters
of spiritual counsel and application of the doctrines and procedures of Jehovah's Witnesses to
issues concerning the congregation and its members. All such spiritual communications done in
accord with the principles of Pro:verbs 11:14, and are kept confidential in accord with the tenets
and teachings of Jehovah's Witnesses.
       5.      I .have personal knowledge of the documents at issue involving communications
between the United States Branch Service Department and the Bellows Falls Congregation, as
well as the communications between elders of the Bellows Falls Congregation and the Claremont
Collgfegation, New Hampshire.        Each of those documents and communications contains
confidential spiritual information sent for the pwpose of seeking or giving spiritual advice and/or
guidBnce. All of them were sent with the expectation that their content would remain private and
confidential in accord with the religious beliefs and practices of Jehovah's Witnesses.
          Case 2:14-cv-00205-cr Document 70-9 Filed 10/13/15 Page 2 of 2
       Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 84 of 118




              6.      I also have personal knowledge of the handwritten notes of various Bellows Falls
      elders at issue.       These notes were taken during meetings in which private. penitential and
      confessional conversations were held betwe.en Keith Lewis and Bellows Falls elders. These
      notes contain sensitive~ privat.e, potentially embarrassing infonnation regarding not only Keith
      Lewis. but other third parties.
              7.      I am familiar with when Norton true served as a ministerial servant in the Bellows
      Falls Congregation. He was appointed as a ministerial servant in 1976, and served as such until
      March of 1986. He did not serve again as ministerial servant until many years later.
              8.      I am infOJJned that Annessa Lewis c.Jaims that she was abused once during the
      summer of 1991 or 1992. Norton Tme was not serving in any appointed capacity in any
      congregation of Jehovah's Witnesses during those years.
              9.      I am familiar with the claim by R. B., Norton True;s step-grand-daughter, that
      Norton Troe touched he:r inappropriately. RB. retracted her claim agsm.st Norton True shortly
      after she made it_ 'f o my knowledge and belief, no c.riminal pr~ecution was ever instituted
      against Norton True based upon the R B. claim.
             I declare under penalty of perjury of the laws of the State of Vermont that the foregoing
      is true and correct.
             Exe~uted on October)       r:/,   2015 at -=-~-:--11f----++-+-+-




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Notary Publie In the Slate of Vermont                     : CommiSsion.expires:
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   Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 85 of 118


                          IN THE CIRCUIT COURT OF THE FIRST CIRCUIT
                                      STATE OF HAWAI`I
 N.D.,                                           Civil No. 1CCV-XX-XXXXXXX DEO
                                                 (OTHER NON-VEHICLE TORT)
                  Plaintiff,
                                                 DECLARATION OF THOMAS
          vs.                                    JEFFERSON

 MAKAHA, HAWAII CONGREGATION OF
 JEHOVAH’S WITNESSES, a Hawaii
 non-profit unincorporated religious
 organization, a.k.a. MAKAHA
 CONGREGATION OF JEHOVAH’S
 WITNESSES and KINGDOM HALL,
 MAKAHA CONGREGATION OF
 JEHOVAH’S WITNESSES; WATCHTOWER
 BIBLE AND TRACT SOCIETY OF NEW
 YORK, INC., a New York corporation;
 KENNETH L. APANA, Individually; and
 Does 1 through 100, inclusive,

                  Defendants.

 MAKAHA, HAWAII CONGREGATION OF
 JEHOVAH’S WITNESSES, a Hawaii
 non-profit unincorporated religious
 organization, a.k.a. MAKAHA
 CONGREGATION OF JEHOVAH’S
 WITNESSES and KINGDOM HALL,
 MAKAHA CONGREGATION OF
 JEHOVAH’S WITNESSES; and
 WATCHTOWER BIBLE AND TRACT
 SOCIETY OF NEW YORK, INC., a New
 York corporation,

                  Crossclaimants,

          vs.

 KENNETH L. APANA, Individually,

                  Crossclaim Defendant.




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                                                            CAEKAERT/MAPLEY 007375
         Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 86 of 118


                          DECLARATION OF THOMAS JEFFERSON

I, THOMAS JEFFERSON, JR., declare under the penalty of perjury:
        1.       I am over 21 years of age, of sound mind, and competent to make this declaration.

        2.       I provide this declaration in support of the Opposition to Plaintiff’s Motion to

Compel the production of documents filed by Watchtower Bible and Tract Society of New York

Inc. (“Watchtower”).

        3.       I am familiar with the operations of Watchtower have been authorized by its Boards

of Directors to submit this declaration.

        4.       Watchtower is a 501(c)(3) not-for-profit corporation organized under the religious

corporation laws of the State of New York with offices in Patterson, New York.

        5.       The corporate purpose of Watchtower includes supporting the faith of Jehovah’s

Witnesses as they carry out Jesus commands at Matthew 24:14 and Matthew 28:19-20, to preach

the good news of God’s Kingdom.

        6.       Throughout the world, spiritual and organizational assistance is provided to

Jehovah’s Witnesses by some 87 branches (akin to regional/national offices). The United States

branch is one of them. Each branch is under the oversight of a branch committee. The United States

Branch Committee (hereinafter “U.S. Branch Committee”) provides spiritual and organizational

assistance to over 13,000 congregations of Jehovah’s Witnesses in the United States and a few

surrounding islands (the “U.S. Branch Territory”).         The U. S. Branch Committee is not

incorporated.


                          THE FAITH OF JEHOVAH’S WITNESSES

        7.       As an elder in the faith of Jehovah’s Witnesses since 1981, I am familiar with the

Scriptural beliefs and practices of Jehovah’s Witnesses and with the Scriptural precedent for those

beliefs and practices.




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         Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 87 of 118


        8.       I have served in the U.S. branch since 1975, and I have worked in the Service

Department since 2008. My service involves providing spiritual guidance and assistance to elders

in congregations of Jehovah’s Witnesses in the United States.

        9.       The basic beliefs of the faith of Jehovah’s Witnesses explain why confession of sin

is so essential to one’s eternal salvation. (James 5:14-16, 19; Proverbs 28:13; 1 John 1:9; Ezra

10:11; Numbers 5:7; Joshua 7:19) And understanding that fundamental principle explains why

Jehovah’s Witnesses place great value on confidentiality.

                                   Organization of Congregations

        10.      Congregations of Jehovah’s Witnesses are composed of individuals and families

who gather together to worship in buildings called “Kingdom Halls.” Congregations in the United

States are usually named after the city or town where they hold meetings, and typically have

between 75 and 125 members.

        11.      Congregations of Jehovah’s Witnesses are small so that elders can assist each

congregation member to keep his or her faith in Jehovah God strong.

        12.      A rank-and-file congregation member is called a “publisher.” Congregations usually

have both baptized and unbaptized publishers but only a baptized publisher is considered a

congregation member and one of Jehovah’s Witnesses. In accord with the beliefs and practices of

Jehovah’s Witnesses, any person baptized as one of Jehovah’s Witnesses is considered an ordained

minister of God (regardless of age or gender), in that they individually accept as a personal

obligation Jesus’ command to preach to others about God’s Kingdom. —Matthew 28:19-20).

        13.      Congregation members are not approved to represent the congregation or any

corporation when they engage in their personal ministry. Congregation members use personal time

for their personal ministry and do not receive any compensation for their efforts.—1 Corinthians

9:16.




US_Active\120141022\V-2


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         Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 88 of 118


                                             Role of Elders

        14.      Each congregation has a group of men called a “body of elders” that oversees the

spiritual activities of the congregation. Among other responsibilities, elders are authorized to hear

confessions, render spiritual assistance to congregation members, and officiate at weddings and

funerals.

        15.      Elders offer their time in caring for all of their spiritual responsibilities and do not

receive any compensation for their efforts.

        16.      Before elders are appointed, they must meet the Scriptural qualifications outlined in

the Bible. —1 Timothy 3:1-7; Titus 1:5-9

        17.      Elders oversee congregation meetings that are held to strengthen the faith of

congregation members and others in attendance. (Acts 15:32.) Elders also provide pastoral care

for local congregation members.

        18.      As discussed in greater detail below, in accord with the Scriptural beliefs and

practices of Jehovah’s Witnesses, elders frequently provide spiritual shepherding, which includes

encouragement, counsel and guidance to congregation members concerning personal and spiritual

matters.—Acts 20:28

        19.      Similarly, as part of their responsibility to maintain the spiritual and moral

cleanliness of the congregation, elders at times conduct what are referred to as ecclesiastical

“investigations” when they receive information that a congregation member committed a gross sin

and has thereby damaged his or her relationship with God.




US_Active\120141022\V-2


                                                                             CAEKAERT/MAPLEY 007378
         Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 89 of 118


                     RELEVANT RELIGIOUS BELIEFS AND PRACTICES

                                 Spiritual Shepherding (Counseling)

        20.      Jehovah’s Witnesses believe in the universal principle of Christianity, that “all

sorts of people” have the moral right and human need to turn to God and be saved by repenting

from a past sinful course. (James 4:17; 1 Timothy 2:3,4; Acts 3:19) They believe that anything

not in harmony with God’s personality, standards, ways and will constitutes a sin, and that “there

is no man who does not sin.” (1 Kings 8:46; 2 Chronicles 6:36) But since many people want to

improve their conduct and be approved by God, elders stand ready to help congregation members

understand the application of Bible principles to their conduct.

        21.      Jehovah’s Witnesses believe that when a person is spiritually weak and has

difficulty praying, elders can provide comfort by praying with that person and helping him or her

see how Bible principles apply. (James 5:14, 15) To obtain comfort and assistance in regaining

spiritual health, congregation members commonly seek Scriptural counsel and disclose private

information, some of it highly sensitive, that allows the elders make personalized petitions to God

in prayer in their behalf.

        22.      Because open and free communication between congregation members and elders

is essential to providing spiritual encouragement, counsel and guidance, the religious beliefs and

practices of Jehovah’s Witnesses place an emphasis on privacy and confidentiality. (Proverbs 25:9)

As promised to congregants in publications such as The Watchtower, “What you discuss with an

elder will remain strictly confidential. Being trustworthy is one of his qualifications. —Compare

Exodus 18:21; Nehemiah 7:2.” (The Watchtower, March 1, 1997, page 28) With that promise,

congregants willingly open themselves to reveal their innermost thoughts, feelings, and acts to

trusted elders as they seek to mend their (or other congregants) relationship with Jehovah God and

heal spiritually.

        23.      The trust and confidence that congregation members have in elders arises from the

sincerely held Scriptural belief that elders are spiritual shepherds who provide both comfort to them




US_Active\120141022\V-2


                                                                            CAEKAERT/MAPLEY 007379
         Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 90 of 118


during their distress and the Scriptural guidance needed to obtain God’s Holy Spirit and blessing to

successfully avoid or overcome sinful behavior. (Acts 20:28) According to the Scriptural beliefs

and practices of Jehovah’s Witnesses, information an elder receives from a congregation member

who requests or needs spiritual encouragement, counsel and guidance is confidential. (Proverbs

11:13; 25:9) Elders do not unnecessarily discuss with others a congregation member’s private

requests for assistance in applying Bible principles, a congregation member’s confession of sin, or

any spiritual encouragement, counsel or guidance an elder believes the congregation member needs.

        24.      From time to time, congregation elders communicate with experienced elders in the

Service Department to receive spiritual counsel and guidance about the application of Bible

principles to issues concerning the congregation and its members. These communications are made

to elders in the Service Department in the Service Department elders’ capacity as spiritual advisors.

Just as elders in congregations sent questions to the apostles and older men during the first century

(see, e.g., Acts 15:2), congregation elders today, turn to experienced elders in the Service

Department at the branch office to help them decide how to handle a spiritual matter. All such

spiritual communications must be kept private and strictly confidential in accordance with the

Scriptural beliefs and practices of Jehovah’s Witnesses.

        25.      A congregation member’s struggle to make needed changes in life in accordance

with his understanding of Bible principles would be made more difficult or compromised altogether

by the absence of such privacy and strict confidentiality needed for communication about troubling

thoughts and feelings of guilt, a frank and open confession or discussion of sinful conduct.

                                       Counsel for Serious Sin

        26.      Based on the religious beliefs and practices of Jehovah’s Witnesses, serious sins are

gross deviations from Bible standards. A person may fall into the practice of serious sin. See 2

Kings 17:16, 21; Isaiah 1:4; 1 Corinthians 6:16-18; and 1 John 3:4.

        27.      Christianity stands for the Christ-like principle that anybody, including those who

practice serious sin, can be helped to repent and find salvation.—1 Corinthians 6:9-11 (“sexually




US_Active\120141022\V-2


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         Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 91 of 118


immoral, idolaters, adulterers, … thieves, greedy people, drunkards, revilers, and extortioners, …

is what some of you were. But you have been washed clean.”); 2 Corinthians 7:8-11 (“you were

saddened into repenting … in a godly way … produc[ing] repentance leading to salvation … [and]

righting of the wrong!”).

        28.      Thus, the ability to confidentially divulge serious sin, even the practice of such sin,

to elders to begin the process of repentance and of regaining one’s good standing before Almighty

God, is crucial to such person’s eternal salvation.

        29.      Based on the Scriptural beliefs and practices of Jehovah’s Witnesses, elders act as

spiritual shepherds when they meet with congregation members who either confess or are alleged

to have committed a “serious sin,” as defined in the Bible.—James 5:14, 15 (“call the elders of the

congregation [and] let them pray over him … if he has committed serious sins, he will be

forgiven.”); See also Galatians 6:1 (“try to readjust such a man”); Proverbs 11:14 (“success through

many advisers”)

        30.      Based on the religious beliefs and practices of Jehovah’s Witnesses, at least two

elders are needed to conduct an investigation involving a congregation member who is alleged to

have committed a “serious sin” or to take and confirm a confession of such sin. If those two elders

confirm that the member has in fact committed a serious sin, the congregation’s body of elders will

appoint three or more elders to form a “judicial committee” for the purposes outlined below.—

Deuteronomy 17:6; Deuteronomy 19:15; Matthew 18:15-17; 2 Corinthians 13:1; 1 Timothy 5:19

        31.      Jehovah’s Witnesses believe that investigations by at least two elders and judicial

committees of at least three elders provide better, more complete spiritual counsel and guidance

based on the collective experience, knowledge, and judgment of multiple elders, than would be

provided by just one elder. (Proverbs 11:14: “When there is no skillful direction, the people fall,

but there is salvation in the multitude of counselors.”) Before an individual becomes one of

Jehovah’s Witnesses, he is made aware of these practices. (Organized to Accomplish Our Ministry

(1989), pages 145-48)




US_Active\120141022\V-2


                                                                             CAEKAERT/MAPLEY 007381
         Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 92 of 118


         32.     Based on the Scriptural beliefs and practices of Jehovah’s Witnesses, the elders who

meet with a congregation member as a judicial committee hear the basic facts about the sinful

conduct, determine its extent and whether there were any mitigating factors, and decide whether

the sinner is repentant before God. (Psalm 51:17; Psalm 86:5; Acts 26:20.) In short, elders serving

on a judicial committee try to help a person who has committed a serious sin begin the process of

recovering spiritual health and help the congregation to remain spiritually and morally clean.—Jude

21-23.

         33.     Based on the beliefs and practices of Jehovah’s Witnesses, all spiritual

communications taking place during an investigation or a judicial committee proceeding, or in

furtherance of the congregation’s ongoing spiritual assistance to a wrongdoer, are considered

private and confidential. The presence or participation of two or more elders in an investigation or

judicial committee does not affect the elders’ confidentiality obligations. Furthermore, any records

created in connection with these matters are kept under lock and key at the Kingdom Hall and are

accessible to elders only, all of whom operate under the same duty to maintain confidentiality.
                                         Spiritual Discipline

         34.     If a congregation member who has committed a serious sin repents, the elders on the

judicial committee prayerfully determine what Bible-based instruction, restrictions, and spiritual

discipline are appropriate. They administer reproof either in private or in public “before onlookers”

who have knowledge of the situation, to instill in the sinner and in any such onlookers a wholesome
fear of displeasing God by continuing in a sinful course. (2 Samuel 12:13; 1 Timothy 5:20.) To

serve as a reminder to the repentant sinner and to the congregation of the repentant sinner’s ongoing

process of regaining spiritual recovery, restrictions on the sinner’s conduct in the congregation are

imposed on such actions as commenting at meetings or participating in meeting parts. The elders

help the wrongdoer to “keep making straight paths for [his] feet” thereafter. (Hebrews 12:13.) In

due course, the judicial committee will lift the imposed restrictions if the individual’s progress to

spiritual recovery is manifest.




US_Active\120141022\V-2


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         Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 93 of 118


        35.      If the elders conclude there is a need to do so, a simple announcement is made to the

congregation so that members know that the wrongdoer committed a serious sin but has

demonstrated a repentant attitude. The type of serious sin committed is not divulged to the

congregation or anyone else.

                              Disfellowshipping Congregation Members

        36.      If a congregation member who committed a serious sin is unrepentant despite the

elders’ efforts to help the wrongdoer, the judicial committee prayerfully determines whether it is

necessary to expel the unrepentant wrongdoer from the congregation in compliance with the

Scriptures.    (1 Corinthians 5:11-13 [“stop keeping company…not even eating with such a

man…Remove the wicked person from among yourselves.”]; 1 Timothy 1:20 [“handed them over

to Satan”]).     Based on the beliefs and practices of Jehovah’s Witnesses, the decision to

“disfellowship” is the strongest form of Scriptural discipline authorized by the Bible.

        37.      In all cases of disfellowshipping (during the relevant time period of this Complaint),

the elders on the judicial committee create a confidential spiritual record of their action and forward

a notice of disfellowshipping (S-77) to Watchtower. Watchtower would not open the notice of

disfellowshipping; instead the sealed envelope would be delivered to an elder in the Service

Department for confidential review. Only elders authorized by the Branch Committee with a need

to know (for religious reasons) have access to the notice.

        38.      When a congregation member is disfellowshipped, an elder makes a simple

announcement at a congregation meeting.          Based on the beliefs and practices of Jehovah’s

Witnesses, such an announcement puts congregation members on notice to stop any spiritual

association with that person. The type of wrongdoing committed by the disfellowshipped person

is not divulged.




US_Active\120141022\V-2


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         Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 94 of 118




                                      Maintaining Confidentiality

        39.      The requirement that elders keep information and spiritual communications

confidential is based on Scripture and has been explained in the official publications of Jehovah’s

Witnesses.—Proverbs 25:9; The Watchtower, April 1, 1971, pages 222-224; Our Kingdom

Ministry, July 1975 page 3; The Watchtower, December 15, 1975, pages 764-66; The Watchtower,

September 1, 1983, pages 21-26; The Watchtower, September 15, 1989, pages 10-15; The

Watchtower, September 1, 1991, pages 22-27; The Watchtower, November 15, 1991, pages 19-23.

        40.      Congregation members trust elders to keep all spiritual communications strictly

confidential. This applies to all members, not just those accused of or confessing serious sin.

        41.      Revealing confidential communications to those not entitled to hear them could call

into question an elder’s qualifications.

        42.      While not every breach of confidentiality by an elder will result in his removal, each

elder is accountable before God, the ultimate Judge, for his adherence to the Bible’s command to

maintain confidentiality.

        43.      If an elder disclosed confidential information, his credibility and effectiveness as an

elder would be compromised and it could have a chilling effect on the congregation members

seeking spiritual encouragement, counsel and guidance from elders. Because free and open

communication between congregation members and their elders is essential to the spiritual welfare

of the members and of the congregation as a whole, the importance of privacy and confidentiality

is difficult to overstate.

        44.      Because congregations are relatively small, each person in a congregation knows

each other person in the congregation by name and family. An elder’s disclosure of confidential

information could readily embarrass a member, cause severe emotional distress, and even damage




US_Active\120141022\V-2




                                                                             CAEKAERT/MAPLEY 007384
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 95 of 118




                                                  CAEKAERT/MAPLEY 007385
              Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 96 of 118
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                                IN THE SUPERIOR COURT OF THE STA.TE OF CALIFORNIA
                                          IN AND FOR THE COUNTY OF NAPA


            CHARISSA W. and NICOLE D.                             )
                                                                  )
            Plaintiff's,                                          )
                                                                  )
            vs.                                                   )       CASE NO.: 26-22191
                                                                  )
                                    Plaintiff                     )       Judicial Council Coordination
                                                                  )       Proceeding No. 4374
                     v.                                           )
            WATCHI'OWER BIBLE AND TRACT                           )
            SOCIETY OF NEW YO~ INC., et al.                       )
                                                                  )
                                    Defendants.                   )       DECLARATION OF
                                                                          ARVID W. KRON
                                                                  )
            AND COORDINATED ACTIONS.                              )




                       J, Arvid W. Kron, after being duly sworn, depose and say:

                        1.          That I am over 21 years of age and reside in Napa, California.

                       2.           That I am a duly ordained minister and ministerial servaut in the Oak Knoll

            Congregation of Jehovah's Witnesses, Napa, California, and that I served as an elder in the West

            Congregation. Napa, Califomia, (River Park's former name) from approximately 1972 until

            1991.

                       3.           That 1 am thoroughly familiar with the religious beliefs, teachings, and practices

            of Jehovah's Witnesses.

                       4.           That duly ordained ministers of Jehovah's Witnesses responsible for teaching and

            pastoral care of COIIFgation membel'S are called "elders..,




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             Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 97 of 118
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                     5.          That it is a religious belief and practice of Jehovah's Witnesses based on God's

           Word, the Bible, that an elder has a responsibility to provides spiritual counseJiog to those who

          seek. it, and that any person who needs spirit.-al help ot is aware of another in such need should

          approach the congregation elders and convey to 1hem whatever information may be needed to

          provide spiritual assistance to the erring one. (Isaiah 32:2; James S:14-16; Hebrews 13:17.) In

          addition, for similar reasons, there a.IC times when elders initiate discussions relating to the

          spiritual condition of congregation members.

                    6.           That it is the religious belief and practice of Jehovah's Witnesses, based upon

          Scripture and church tradition, that elders must maintain in strict confidence any church

          corruntmications with congregants connected with the need for spiritual help or counseling. and

          congregants expe<,1 such commwiications to elders are and will remain confidential-regardless

          of who initiated the conversation.-Proverbs 15:22; 25:9, 10.

                    7.           That revealing such confidential communications would call into question an

          eider's qualifications &Pd could result in his removal as an elder in the congregation.

                    8.           That if I or any elder is compelled to disclose such confidential information. our

          credibility and effectiveness as elders would be adversely affected and compromised, since

          congrcgants will no longer be able to trust and rely that problems and confidential infomiation

          they disclose to elders will not be revealed through discovery and used again.st them in a court

          action.

                    9.           That the requirement of keeping commtmications to elders confidentiaJ ls

          explained in the official publications of Jehovah's Witnesses as follows:

                            In eacli congregation of Jehovob 's witnesses the.re are mature ministers
                    appointed to care for various assignments. (I Tim. 3:2, 12) As they discharge
                    their duties they often att: told about confidential things, and it is essential that



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                       they respect this confidence. For instance, James S:13-16 shows that a member
                       of the congregation who has some spiritual problem, perhaps even having com-
                       mitted a sin, should go to the spiritually older men for help. Isaiah 32:2 propheti-
                       cally pictured these men as places of comfort and protection. What a fine thing it
                       is to be able to explain one's problem and get balanced spiritual help, and at the
                       same time have full confidence that the matter will not become general knowl-
                       edge in the congregation or community.
                                Those mature ministers will not di5CUSs even with their wives and close
                       friends what they thus learn in confidence. They know that if they did so it would
                       undermine respect for their positions; it would make individuals hesitant to come
                       to them; yes, in time it might even make it impossible for them to fulfill their role
                       as spiritual shepherds.
            The Watchtower, April 1, 1971, p. 223.
                       10.           That it is also the religious belief and practice of Jehovah's Witnesses, based upon

            Scripture and church tradition, to keep congregation files, papers, repons, minutes or other

            documents prepared in coujwiction with. or iiS a result of, the above-described confidential

            communications, confidential.

                       11.           That if I or any other elder is compeUed to produce any papers. :tepOrts, minutes

            or other documents prepared in conjW1Ction with or as a result of the above-described.

            confidential communications, our credibility and effectiveness will be adversely affecied and

            compromised, and the confidentiality of the oral communications will be rendered worthless.

                       12.           That 1 and two other elders from the West Congregation, Napa, California, met

            with Edward Villegas several times on or about Januaiy 1989 so as to provide him with spiritual

            CO'UDSel and assistance.           There were no non-clergy or other third persons present during these

            confidential meetings with Mr. Villegas.                  Although a report relating to Mr. Villegas'

            disfellowshipping was sent by the three elders who met with hilll to the eldeIS in the United

            Stat.es Service Department for Jehovah's Witnesses, as required by church practice and




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           procedure, the specifics of the conversations that the three elders had with Mr. Villegas were not

           included in these two reports.

                      13.          I declare under penalty of perjucy under the laws of the State of California that the

           foregoing is true and correct to the best of 01y information, belief, and knowledge.

                                                                     Respectfully submitted,



                                                                          Arvid W. Kron




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                               IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                         IN AND FOR THE COUNTY OF NAPA

             CHARISSA W. and NICOLE D.                           )
                                                                 )
             Plaintiffs,                                         )
                                                                 )
            v~                                                   )       CASE NO.: 26-22191
                                                                 )
                                   Plaintiff                     )       Judic:ial Council Coordination
                                                                 )       Proc:eeding No. 4374
                     v.                                          )
             WATCHTOWER BIBLE AND TRACT                          )
             SOCIETY OF NEW YORK, INC., et al.                   )
                                                                 )
                                   Defendants.                   )       DECLARATION OF
                                                                         DAVID W. BECKER
                                                                 )
            AND COORDINATED ACTIONS.                             )




                       I. David W. Becker, after being duly sworn, depose and say:
                       1.          That I am ov« 21 years of age and reside in Napa, California.

                       2.          That I am a duly ordained minister and elder of the River Park Congregation of

            Jehovah's Witnesses, Napa, California

                       3.          That l am thoroughly familiar with the n:ligious beliefs., teachings, and practices

            of Jehovah's Witnesses.

                       4.          That duly ordained ministers of Jehovah's Witnesses responsible for teaching and

            pastoral c:are of congregation membeJs are called "elders."

                       5.          That it is a religious belief and practice of Jehovah's Witnesses based on God's

            Word, the Bible, that an elder has a responsibility to provides spiritual counseling to those who

            seek it, and that any person who needs spiritual help or is aware of another in such need should



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           approach the congregation elders and convey to them whatever infonnation may be ueeded to

           provide spiritual assistance to the erring one. (Isaiah 32:2; James S:14-16; Hebrews 13~17.) In

           addition, for similar reasons, lhere are times when cldel$ initiate discussions relating to the

           spiritual condition of c:ongregation members.

                      6.           That it is the religious belief and practice of Jehovah's Witnesses, based upon

           Scripture and chmcb. tradition, that elders must maintain in strict confidence any church

           communications with congregants connected with the need for spiritual help or counseling, and

           congregants expect such communications to elders are and will remain confidenti~gardless

          of who initiated the convenation.-Provcrbs 15:22; 25:9, 10.

                     7.            That revealing such confidential communications would call into question an

           eider's qualifications and could n:sult in his removal as an elder mthe eongregation.

                     8.            That if I or any eJder is compelled to disclose such con1idential infozmation, our

          credibility and effectiveness as elders would be adversely affected and compromised, since

          congrcgants will no longer be able to trust and rely that problems and c:onfidential information

          they disclose to ciders will not be revealed through discovery and used against them in a court

          action.

                     9.            That the requirement of keepina communications to eldeJs confidential is

          explained in the official publicalions of Jehovah's Witnesses as follows:

                             In each congregation of Jehovah's witnesses there are mature ministers
                     appointed to cme for various assignments. (1 Tim. 3:2, 12) As they discharge
                     their duties they often are told about confidential things, and it is essential that
                     they respect this C()nfidence. For instance, James 5:13-16 shows that a member
                     of the congregation who has some spiritual problem, pemaps even having com-
                     mitted a sin, should go to the spiritually older men for help. Isaiah 32:2 propheti-
                     cal)y pictured these men as places of comfort and protection. What a fine thing it
                     is to be able to explain one's problem and get balanced spiritual help, and at the
                     same time have full confidence that the matter will not become general knowl-



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                     edge in the congregation or community.
                             Those mature ministers will not discuss even with their wives and close
                     friends what they thus learn in confidence. They know that if they did so it wouJd
                     undermine respect for their positions; it would make individuals hesitant to come
                     to them; yes, in time h might even make it impossible for them to fulfil] their role
                     as spiritual shepherds.

          1he Watchtower, April 1, 1971, p. 223.

                     10.           That it is also the religious belief and practice of Jehovah's Witnesses, based upon

          Scriptuie and chureh tradition, to keep congregation files, papers, reports, minu~ or other

          doclllllents prepared in conjunction with, or as a result of, the above-described confidential

          communications, confidential.

                     11.           That if I or any other elder is compelled to produce any papers, reports, minutes

          or other documents prepared in conjunction with or as a result of the above-described

          confidential communications, our credibility and effectiveness will be adversely affected and

          compromised. and the confidentiality of the oral communications will be rendered worthless.

                     12.           That I and two other elders from the River Park Congregation, Napa, California,

          met with Edward Villegas several times on or about January 1994 so as to provide him with

          spiritual counsel and assistance. There were no non-clergy or other third persons present during

          these confidential meetings with Mr. Villegas. Although a report relating to Mr. ViUegas'

          disfellowshipping was sent by the three elders who met with him to the elders jn the United

          States Service Department for Jehovah's W-rtnesses, as requfred by church practice and

          procedure, the specifics of the conversations that the three elders had with Mr. Villegas were not

          included in these two reports.

                     13.       I declare under penalty of perjwy under the laws of the State of Califomia that the

          foregoing is true and correct to the best of my .information, belief: and knowledge.



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                                                 DavidW.Becker"




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     Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 104 of 118




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                                                                     THOMAS R. FALLOUIST ,
                                                                    SPOKANE COUNTY CLER,<




 1
     Donald G. Stone, WSBA #7547
 2
     PAINE, HAMBLEN, COFFIN,
 3    BROOKE & Mll.LER LLP
     717 W. Sprague Avenue, Suite 1200
 4   Spokane, Washington 99201-3505
 5   Telephone: (509) 455-6000
     Facsimile: (509) 838-0007
 6
 7   Attorney for Church Defendants

 8             IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 9                       IN AND FOR THE COUNTY OF SPOKANE
     AIMEY MERIE VIGUE, a single person; )
10   ROBERT SCOTT VIGUE and KAY          )
ll   VIGUE, husband and wife,            )   No. 04-2-02451-4
                                            )
12                       Plaintiffs         )         AFFIDAVIT OF
13
                                            )         ALEXANDER W. REINMUELLER
     vs.                                    )
14                                          )
     EDWARD NORMAN DAVIS and                )
15
     CHERYLE DAVIS, husband & wife and      )
16   husband & wife and marital community   )
     thereof; WATCHTOWER BIBLE and          )
17
     TRACT SOCIETY OF NEW YORK, INC.;       )
18   WATCH TOWER BIBLE AND TRACT            )
     SOCIETY OF PENNSYLVANIA; CHRIS-        )
19   TIAN CONGREGATION OF JEHO-             )
20   VAH'S WITNESSES; OPPORTUNITY           )
     CONGREGATION OF JEHOVAH'S              )
21   WITNESSES,
22
                         Defendants.
23
24    DEFENDANT WATCH TOWER BIBLE               PAINE, HAMBLEN, COFFIN, BROOKE & MILLER LLP
      AND TRACT SOCIETY OF PENN-                         717 WEST SPRAGUE AVENUE, SUITE 1200
25    SYLVANIA'S MOTION TO DISMISS AN-                SPOKANE, WA 99201 PHONE: (509) 455-6000

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     Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 105 of 118




 1                      AFFIDAVIT OF ALEXANDER W. REINMUELLER
 2
 3   STATE OF NEW YORK)
                      ) ss.:
 4   COUNTY OF KINGS  )
 5
           I, Alexander W. Reinmueller, after being duly sworn, depose and state as follows:
 6
7
           1.     I am over 18 years of age, of sound mind, and competent to make this Affidavit.
 8                have personal knowledge of the matters contained herein, and they are all true an
                  correct.
 9
10         2.     I am the designated agent of Watch Tower Bible and Tract Society of Pennsyl
                  vania ("Watch Tower PA") for the purposes of this litigation.
11
12         3.     I am the overseer of the Treasurer's Office at the worldwide headquarters office
                  of Jehovah's Witnesses, which provides accounting, financial and risk manage
13
                  ment services to Watch Tower PA and other corporations used by Jehovah's Wit
14                nesses, and I thus have personal knowledge of the business activities and financi
                  dealings of Watch Tower PA, including the matters contained herein.
15
16         4.     Watch Tower PA is a non-stock, non-profit corporation incorporated under th
17                laws of the State of Pennsylvania in 1884. Its principal place of business is lo
                  cated at 25 Columbia Heights, Brooklyn, New York 11201-2483. Watch Towe
18                PA is a tax exempt organization under Section 501(c)(3) of the Internal Revenu
19                Code.

20
           5.     Watch Tower PA does not have an office, mailing address, or telephone numbe
21                in the State of Washington and has never maintained an office in the State o
22                Washington. Watch Tower PA does not have employees, officers, or directors re
                  siding in the State of Washington. Further, Watch Tower PA does not and neve
23                has directed any type of commercial activity towards the State of Washington.
24
           6.     Watch Tower PA is not required to maintain and has never maintained a place o
25
                  business in Washington. Watch Tower PA has never been obligated to pay an
26                never has paid taxes in Washington. Watch Tower PA has never maintained
                  bank account in Washington. Watch Tower PA has never held a Board of Direc
27                tors, officers, or other meeting in Washington. Watch Tower PA has never hel
28                any conference or symposium in Washington.

29
      DEFENDANT WATCH TOWER BIBLE                 PAINE, HAMBLEN, COFFIN, BROOKE & MILLER LLP
30    AND TRACT SOCIETY OF PENN-                           717 WEST SPRAGUE AVENUE, SUITE 1200
      SYLVANIA'S MOTION TO DISMISS AN-                   SPOKANE, WA 99201 PHONE: (509) 455-6000




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     Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 106 of 118




 1         7.    Watch Tower PA coordinates the worldwide activities of Jehovah's Witnesses b
                 providing copyrighted literature (text and images for various publications) and fi
 2
                 nancial support. Historically, Watch Tower PA has also given powers of attorne
 3               to individuals in foreign countries to act on its behalf where the national Jaws re
                 quire the appointment of a "chief' religious person. Few, if any, foreign countrie
 4               now have such requirements.
 5
 6         8.    In most countries where Jehovah's Witnesses are legally recognized, a local cor
                 poration has been formed to be legally responsible for the various appointments o
 7               individuals and is used to communicate with congregations in that country.
 8
           9.    Watch Tower PA has never acted in a supervisory capacity to any congregation i
 9
                 the United States, other than providing infrequent spiritual direction by mail.
10
11         10.   Watch Tower PA has never appointed congregation Elders in the United States
                 including Washington.
12
13         11.   Watch Tower PA is not responsible for any assemblies or conventions of Jeho
14               vah's Witnesses held in Washington or in the United States.

15
           12.   Watch Tower PA, as a recognized charity, has received donations from individu
16               als in Washington. Some of these donations are in the form of real property.
17               some cases, the individuals have deeded a part of their property to Watch Towe
                 PA, but have retained a life estate in the property donated.
18
19         13.   Watch Tower PA administers a fund for the construction of church buildings enti
                 tied the Kingdom Hall Fund. Through this fund, Watch Tower PA has provide
20               financial assistance to congregations in the United States and around the world t
21               build their places of worship known as Kingdom Halls and Assembly Halls. I
                 return for the financial assistance, the congregations have executed promissor
22               notes and before 1988, mortgages, agreeing to pay back the loans.
23
24         14.   Watch Tower PA has lent money to congregations in Washington through it
                 Kingdom Ha11 Fund to assist in the construction of places of worship and receive
25               promissory notes with mortgages prior to 1988 and since, without mortgages i
26               return for the money lent. However, these financing arrangements have bee
                 conducted exclusively through the mails and over the telephone.
27
28         15.   Watch Tower PA administers a fund named the Kingdom Hall Assistance Ar
                 rangement ("KHAA''). The KHAA is a fund created from voluntary donations
29
      DEFENDANT WATCH TOWER BIBLE                 PAINE, HAMBLEN, COFFIN, BROOKE & MILLER LLP
30    AND TRACT SOCIETY OF PENN-                           717 WEST SPRAGUE A VENUE, SUITE 1200
      SYLVANIA'S MOTION TO DISMISS AN-                   SPOKANE, WA 99201 PHONE: (509) 455-6000




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     Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 107 of 118




 1               and used for the discretionary purposes of Watch Tower PA. These discretionar
                 purposes include paying for uninsured property damage to Kingdom Halls as wel
 2
                 as expenses and liability claims arising from accidents at Kingdom Halls. N
 3               premiums have ever been collected for the KHAA. Similarly, the KHAA doe
                 not guarantee payment to any person or legal entity that contributes to the fund.
 4               Finally, the KHAA has been used by Watch Tower PA in all 50 States in th
 5               United States and in many countries around the world. All correspondence con
                 ceming the KHAA fund has been conducted exclusively through the mails or ove
 6               the telephone.
 7
 8         16.   The Watchtower Bible School of Gilead ("School") has been owned and operate
                 by Watchtower Bible and Tract Society of New York, Inc. ("WTNY") since it
 9               inception in 1942. The School does not have income, in the classical sense, be
10               cause students do not pay tuition or other fees. WTNY underwrites all expense
                 for the School. All invitations to the School have been sent by WTNY to student
11               in the United States and around the world since its inception.
12
           17.   Watch Tower PA maintains its own separate corporate meetings. Watch Towe
13
                 PA maintains its own separate corporate books and records. Members of th
14               Board of Directors and Officers of Watch Tower PA do not sit on any other cor
                 porations, including WTNY or Christian Congregation of Jehovah's Witnesse
15               ("CCJW").
16
17         18.   Watch Tower PA is not an agent of WTNY, CCJW, or any other corporation, en
                 tity, or unincorporated association.
18
19         19.   Watch Tower PA prepares its own annual financial reports. These financial re
20               ports are prepared separately from all other corporations, including WTNY an
                 CCJW.
21
22         20.   Watch Tower PA maintains separate bank accounts from all other corporations
                 Watch Tower PA does not commingle funds with any other corporation.
23
24         21.   Watch Tower PA has provided funds to other corporations, including WTNY an
25               CCJW. These funds have been recorded as long-term receivables by Watc
                 Tower PA and long-term payables by the other corporations. Watch Tower P
26               has also made gifts to other corporations and recorded them as such.
27
28         22.   Watch Tower PA is not held out as liable for the debts of any other corporation
                 incJuding WTNY or CCJW.
29
      DEFENDANT WATCH TOWER BIBLE                PAINE, HAMBLEN, COFFIN, BROOKE &MILLERLLP
30    AND TRACT SOCIETY OF PENN-                          717 WEST SPRAGUE AVENUE, SUITE 1200
      SYLVANIA'S MOTION TO DISMISS AN-                  SPOKANE, WA 99201 PHONE: (509) 455-6000




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     Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 108 of 118




 1
 2         23.    Watch Tower PA occupies WTNY office space under a written lease.

 3
           24.     Watch Tower PA maintains all corporate formalities required by Pennsylvani
 4               · law. Watch Tower PA holds annual meetings of members and directors an
                   documents all its meetings (annual, regular, or special), and all significant corpo
 5                 rate actions.
 6

 7   SIGNED this the   3o µ.. day ofik~, 2004.
 8
 9
10                                               Alexander W . Reinmueller
11
12
13
     SUBSCRIBED AND SWORN TO BEFORE ME on the 30+" day of 1),cen1..btr, 2004, to certif
14   which witness my hand and official seal.                                          _
15
16
17
                                                 Notary Public, State of New York
18
                                                          MARIA J. DEL CARPIO
                                                      Notary Public, State of New York
19                                                        Reg. No. 01 DE4937981
                                                         Qualified in Kings County     (,,
20                                                  Commission Expires August 1, ~ 00

21
22
23
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29
      DEFENDANT WATCH TOWER BIBLE                  PAINE, HAMBLEN, COFFIN, BROOKE & MILLER LLP
30    AND TRACT SOCIETY OF PENN-                             717 WEST SPRAGUE AVENUE, SUITE 1200
      SYLVANIA'S MOTION TO DISMISS AN-                     SPOKANE, WA 99201 PHONE: (509) 455-6000




                                                                             CAEKAERT/MAPLEY 004988
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 109 of 118




                                                  CAEKAERT/MAPLEY 004990
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 110 of 118




                                                  CAEKAERT/MAPLEY 004991
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 111 of 118




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Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 112 of 118




                                                  CAEKAERT/MAPLEY 004993
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 113 of 118




                                                  CAEKAERT/MAPLEY 004994
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 114 of 118




                                                  CAEKAERT/MAPLEY 004999
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 115 of 118




                                                  CAEKAERT/MAPLEY 005000
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 116 of 118




                                                  CAEKAERT/MAPLEY 005001
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 117 of 118




                                                  CAEKAERT/MAPLEY 005002
Case 1:20-cv-00052-SPW Document 366-2 Filed 04/19/24 Page 118 of 118




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